  Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 1 of 116 Page ID #:1385
                                                                                                    „.           FILED
                                                                                                    '~ CLERK.U.S. DISTRICTCOt
                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA                             =f'
                                                                                                           AMR 182019
                                       NOTICE OF DOCUMENT DISCREPANCIES
                                                                                                       ~        TRIG OF
To: L~1 U.S. District Judge / ❑ U.S. Magistrate Judge              ~Scr ;~                                                CNLDE

From: Derek Davis                                            Deputy Clerk            Date Received:
Case No.: 2:17-cv-05872-DSF-KS                     Case Tide: Brunilda Stephens v. Nordstrom,Inc. et al
Document Entitled: Amicus Curiae Brief in Opposition, Reply Brief in Further Support of Request


Upon the submission of the attached document(s), it was noted that the following discrepancies exist:

              ❑ Local Rule 5-4.1          Documents must be filed electronically
              ❑ Local Rule 6-1            Written notice of motion lacking or timeliness of notice incorrect
              ❑ Local Rule 7-19.1         Notice to other parties of ex parte application lacking
              ❑ Local Rule 7.1-1          No Certification of Interested Parties and/or no copies
              ❑ Local Rule 11-3.1         Document not legible
              ❑ Local Rule 11-3.8         Lacking name, address, phone, facsimile numbers, and e-mail address
              E~J Local Rule 11-4.1       No copy provided for judge
              D Local Rule 11-6      Memorandum/brief exceeds 25 pages
                Local Rule 11-8      Memorandum/brief exceeding 10 pages shall contain table of contents
              ❑ Local Rule 15-1      Proposed amended pleading not under separate cover
              ❑ Local Rule 16-7      Pretrial conference order not signed by all counsel
              ❑ Local Rule 19-1      Complaint/Petition includes more than 10 Does or fictitiously named parties
              ❑ Local Rule 56-1      Statement of uncontroverted facts and/or proposed judgment lacking
              ❑ Local Rule 56-2      Statement of genuine disputes of material fact lacking
              ❑ Local Rule 83-2.5    No letters to the judge
              ❑ Fed. R. Civ. P. 5    No proofof service attached to documents)
              ~ Other: No application for permission to file was received with these documents. Judicial review is
                          required. ~o ~~n ~ ,.^E- dd~~~ r~ ~~`~- rn ~ r~ t r-~ ~~ r~k~-v- i n. ~~ v t-

  Please refer to the Court's website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

                                      ORDER OF THE JUDGE/MAGISTRATE JUDGE
IT IS HEREBY ORDERED:

❑ The document is to be filed and processed. The filing date is ORDERED to be the date the document was stamped
  "received but not filed” with the Clerk. Counsel* is advised that any further failure to comply with the Local Rules may
  lead to penalties pursuant to Local Rule 83-7.


    Date                                                    U.S. District Judge / U.S. Magistrate Judge

       e document is NOT to be filed, but instead REJECTED, and is ORDERED returned to counsel.* Counsel* shall
    immediately notify, in writing, all parties previously served with the attached documents that said documents have not
    been filed with the Court.

    Date                                                   U.S. District Judge / U.S. Magistrate Judge
* The term "counsel" as used herein also includes any pro se party. See Local Rule 1-3.
       COPY 1 -ORIGINAL-OFFICE        COPY 2 -JUDGE     COPY 3 -SIGNED &RETURNED TO FILER           COPY 4-FILER RECEIPT

CV-104A (06/13)                            NOTICE OF DOCUMENT DISCREPANCIES
Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 2 of 116 Page ID #:1386
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                                                 CLEr~K. ~~~5. DDS~'RlCT~~c~
                                                                         C .~i
                                                                             + ,
                                                                               d1T


                                                         MAR - 2019
     1 N. Alai

    2
      14 Monarch Bay Plaza, Suite 383            ~~~\C3ISTRICT Cr" Cd~~;.'~,
                                                                            =;i~,,lA
      Dana Point, CA 92629
    3 714-886-9707

    4 On
         Behalf of AMICUS CURIAE

     5

    6
                         IN THE UNITED STATES DISTRICT COURT
     7                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION
     8

     9    BRUNILDA STEPHENS,et al.              CV 17-05872 DSF(KSx)
    10                                          JiJDGE: Hon. Dale S. Fischer
                     Plaintiffjs],
                                                Courtroom: 7D
    11                      v.
    12                                         REPLY BRIEF
          NORDSTROM,INC. ET AL.
    13 Defendant[s].                           IN FURTHER SUPPORT OF
                                               "REQUEST FOR LEAVE OF COURT
    14
                                               TO FILE AMICUS CURIAE BRIEF
    15                                          IN OPPOSITION TO PLAINTIFF
    16                                         COUNSEL ROLAND COLTON'S
                                               APPLICATION AS LEAD CLASS
    17
                                               COUNSEL"; AND
    18                                              (1)REQUEST TO STRIKE AND
    19                                         SEAL COLTON'S OPPOSITION
    20                                         AND DECLARATION DATED JAN
                                               28, 2019.
    21
                                                    (2)REQUEST TO HOLD
    22                                         COLTON IN CONTEMPT FOR
    23                                         VIOLATION OF COURT ORDERS

   24
                                               [Filed herewith DECL. SIAMAK
   25                                           NABILI, M.D.]

   26
                                                  - ~-
   27      REPLY BRIEF IN FURTHER SUPPORT OF "REQUEST FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN
                OPPOSITION TO ROLAND C. COLTON'S APPLICATION FOR LEAD CLASS COUNSEL"
   28
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     1     TO THE HONORABLE COURT,PARTIES,AND ATTORNEYS OF
     2
           RECORD:
                  Non-party Nili Alai herein moving party or "amicus curiae"
     3
         respectfully files the herewith Reply Brief in support of her "Request for Leave of
     4
         Court to file the referenced amicus curiae brief in Opposition to Plaintiff counsel
     5
         Roland C. Colton's application for lead class counsel" in Case No. CV 17-05872
    6
         DSF(KSx)(herein "Nordstrom").
     7
               Moving party further files this Reply brief and attached Lodgment of
     8
         Exhibits in support of the request to do the following:
     9
                 (1)Request to Strike and Seal Plaintiff Counsel Colton's Opposition and
    10
                      Colton Declaration dated Jan. 28, 2019 for violation of Court Orders
    11
                      and Attorney Client Privilege documents;
    12
                 (2)Request to grant the Request to hold Colton in contempt for violation of
    13
                      the aforementioned;
    14
                 (3) Request to grant leave to file the referenced amicus curiae brief; and
    15
                 (4) Support the Court's earlier Order to Show Cause, and ruling denying
    16
                      Roland C. Colton's adequacy as class counsel.
    17

    18
                                   SUMMARY OF RELIEF SOUGHT
    19

    20
              Amicus Curiae respectfully seeks an order of the Court granting leave to file

    21
         the amicus brief, and to order Plaintiff counsel Roland Colton as inadequate as

    22 class
             counsel. In light of Plaintiff counsel Colton's since surreptitiously filed

    23 Opposition to the
                         Request, further relief is requested in the form of

    24         (1)An order of the court to seal and strike the 1/28/2019 pleading and
    25             declaration;
    26
                                                   -~-
    27     REPLY BRIEF IN FURTHER SUPPORT OF "REQUEST FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN
                OPPOSITION TO ROLAND C. COLTON'S APPLICATION FOR LEAD CLASS COUNSEL"
    28
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     1         (2)An order granting the Request to hold Colton in contempt for violation of
    2              the aforementioned; and
     3        (3)An award of costs, fees and sanctions in favor of moving party.
    4

     5
            This application is filed herewith Declaration of non party witness in Support:
    6
            Decl. Siamak Nabili, M.D.
     7

     8

    9                                STATEMENT OF FACTS
               On Jan. 25, 2019 Amicus curiae, anon-party to the Nordstrom litigation filed a
    10

    1 1 request for leave of court to file an amicus brief in support of the Court's prior Order

    12 II denying class certification and lead class assignment to Plaintiff's counsel Roland
    13
         Colton. The original Request brief was properly served on all parties, including
    14

    15 ~ current case Claimant The State of California, Franchise Tax Board (for Roland C.

    16 Colton tax debt; see https://www.ftb.ca.gov/aboutFTB/Delinquent-Taxpayers.shtml)

    17

    18

    19         On Jan. 28, 2019 Plaintiff's counsel Roland Colton surreptitiously filed a

    20 pleading entitled "Plaintiff's Opposition to Amicus Curiae Brief'and an

    21   accompanying "Declaration of Roland Colton".

    22           (1)Counsel Colton failed to serve moving party in any manner, hence

    23               moving party had no manner in which to timely know of the Colton's

    24               Opposition.
    25

    26
                                                   - J -


    27    REPLY BRIEF IN FURTHER SUPPORT OF "REQUEST FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN
               OPPOSITION TO ROLAND C. COLTON'S APPLICATION FOR LEAD CLASS COUNSEL"
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     1           (2) Counsel Colton's pleading was substantively flawed, and is subject to a
    2               strike and seal order for Colton's' violation of multiple statutes
     3              including
    4                  • Colton violated Bus. and Professions Code § 6068 (e)(1): Client
     5                     Confidentiality;
    6                  • Colton violated State Bar Rules of Professional Conduct, Rule 3-
     7                     100; and
     8
                       • Colton violated public policy.
    9

    l0        Plaintiff counsel Colton's Jan. 28.2019 nleadin~ and declaration did the
    1 1 following blatant and egregious acts:

    12              (1)Colton released without authorization about ten(10) attorney client
    13                   protected emails about non-party and former client Siamak Nabili,
    14                   M.D.(Decl. Nabili ¶¶3-4)(See Decl. Colton 1/28/19 Exh C);
    15              (2)Colton willfully violated other attorney client privilege of former
    16                   client, and non-party Siamak Nabili, M.D.(See Decl. Nabili ¶¶3-4);
    17              (3)Colton blatantly violated attorney client privilege of his former
    18                   client Nili Alai, M.D.(See Decl. Colton 1/28/19 Exh C);
    19              (4)Colton knowingly violated three court orders which specifically
    20                   entered orders as to a court ordered anonymized case about his
    21                   clients, which was ordered so as warranted by exceptional
    22                   circumstances and ordered to remain anonymized. (See Decl.
    23                   Colton 1/28/1 ¶5 );
    24

    25      On or about January 31, 2019 Colton's legal malpractice lawyers made a written
    26
                                                 - 4-
    27    REPLY BRIEF IN FURTHER SUPPORT OF "REQUEST FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN
               OPPOSITION TO ROLAND C. COLTON'S APPLICATION FOR LEAD CLASS COUNSEL"
    28
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     1 demand that moving party withdraw the amicus brief to this Court, or "else".
     2     On February 5, 2019 Colton himself wrote the communication attached hereto as
     3 Exhibit "C" and demanded that moving party withdraw the amicus brief or "else".
    4        On February 6, 2019 Colton filed an ex pane application with Superior Court
     5 demanding four reliefs, which were all ultimately denied at hearing on 02/07/2019.

         See Exhibit"B". On February 6, 2019 at 1:34 pm Colton and his le~a        practice
     7 lawyers served a wildly broad application in Superior court seeking the court's
     8 Orders for the following demands:
     9                 (1)Colton demanded the court to order Plaintiff to withdraw an
    10                     amicus curiae brief filed in another venue (Central District Court
    11                     herein 2:17-cv-05872-DSF-KS Brunilda Stephens v. Nordstrom,
    12                     Inc. et al,(herein "Nordstrom Court");
    13                 (2)Colton demanded to extinguish Plaintiff's litigation privilege and
    14                     all right to petition;
    15                 (3)Colton demanded an Order to Plaintiff to refrain from
    16                     broadcasting in court pleadings that Defendant is a convicted
    17                     federal criminal, which is regrettably completely true; and
    18                 (4)Colton demanded the court issue a global "gag order" where the
    19                     party may not file in any court briefs about Colton, or say
    20                     anything about Colton in any other court, agency, or process.
    21
   22               PLAINTIFF COUNSEL COLTON'S                      "OPPOSITION" AND
   23 ~ EXHIBITS TO        ARE      UNLAWFUL AND SHOULD BE STRICKEN AND
   24 ~ SEALED BECAUSE
   25
   26
                                                    -~-
   27     REPLY BRIEF IN FURTHER SUPPORT OF "REQUEST FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN
               OPPOSITION TO ROLAND C. COLTON'S APPLICATION FOR LEAD CLASS COUNSEL"
   28
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     1              (1)Colton's Jan 28, 2019 Opposition is in violation of multiple Court
     2                  Orders which subjected him to maintain an anonymized case ordered
     3                  as exceptional circumstance, as such, which Colton blatantly and
     4                  willfully failed to do, (See Decl. Colton 1/28/19 ¶5);
     5             (2) Colton's Jan 28, 2019 Opposition begins on page 1 with irrelevant,
     6                  defamatory, and slanderous misstatements which have no bearing on
     7                  the Court's ruling deeming him inadequate as class counsel;
     8             (3) Colton's Opposition subjects him to just and well deserved
     9                  discretionary strike and seal orders pursuant to statue for deliberate
    10                  inclusion of"irrelevant, false, or improper matter inserted in any
    11                  pleading";
    12             (4)Colton's Opposition is in direct violation of unambiguous Court
    13                  Orders dated about August 17, 2017 and September 14, 2014 in a
    14                  anonymized case, the details of which and number which can not be
    15                  referenced here pursuant to the court orders (In camera Exhibits of
    16                  referenced Court Orders can be provided, which are also in direct
    17                  possession of Counsel Colton);
    18             (5)Colton's 1/28/2019 "Opposition","Declaration", and Exhibit"C" to
    19                  his "Declaration" are a blatant and intended violation of attorney
    20                  client privilege ofnon-parties, which have never been waived;
    21                 (Decl. Nabili ¶¶ 3-6);
    22             (6)Colton now also contends that the Court should simply dispense with
    23                  this meritorious and overdue amicus brief to deem him unfit, simply
    24                  because Colton previously represented amicus curiae, and those
    25                  involved various legal matters;
    26
                                                 -„-
    27   REPLY BRIEF IN FURTHER SUPPORT OF "REQUEST FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN
              OPPOSITION TO ROLAND C. COLTON'S APPLICATION FOR LEAD CLASS COUNSEL"
    28
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     1               (7)Colton fails to recognize that his Opposition should really reference
     2                   and discuss why he believed he is fit to be appointed as class counsel,
     3                   as opposed to Colton's "wag the dog" litigation scheme whereby
     4                   Colton's Opposition makes vacuous ad hominem attacks on amicus
     5                   curiae, none of which have any bearing on (1) Colton's failure to
    6                    disclose his criminal past and current tax delinquencies;(2) Colton's
     7                   failure to truthfully list his qualifications for the court as to hundreds
     8                   of million dollars of class action awards, whereas he simultaneously
     9                   filed under oath(false) bankruptcy proceedings just a year or two after
    l0                   his purported winnings in his many class actions.(Plaintiff "Colton
    11                   Response too Order to Show Cause re Adequacy of Counsel"
    12                   2/6/2018 4:25-28)
    13              (8) Counsel Colton's 1/28/2019 arguably unlawful, and at best
    14                   salacious,"Opposition" and "Declaration" are a further reference as
    15                   to precisely why amicus curiae assert why Colton is likely unfit as
    ]6                   lead class counsel.
    17

    18

    19      Notwithstanding Plaintiff's Counsel Colton's intent to deflect the merits of the
    20 Request for leave to file the amicus Brief, Colton's conduct of violating attorney client

    21 confidences(Decl. Nabili ¶¶9-10) meets the statutory qualification to deem him unfit

    22 as class counsel. Pursuant to Bus. and Professions Code § 6068(e)(1) et. seq, Colton's

    23 conduct qualifies as unlawful and in violation of public policy.

    24

    25

    26
                                                 - 7-
    27    REPLY BRIEF IN FURTHER SUPPORT OF "REQUEST FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN
               OPPOSITION TO ROLAND C. COLTON'S APPLICATION FOR LEAD CLASS COUNSEL"
    28
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     1         PLAINTIFF'S COUNSEL COLTON IS A PURPORTED SEASONED
     2         LAWYER WHO CAN NOT CLAIM A LAY PERSON'S LACK OF
     3         SOPHISTICATION OR KNOWLEDGE.
     4         Colton is aself-described seasoned and knowledgeable legal person who cannot
     5 hide behind the traditional lay person ignorance. It is unlikely if not impossible that

     6 Colton is in any manner is unaware of the rules of pleadings, Bus. and Professions

     7 ~ Code §6068 (e)(1), State Bar Rules, and requirements that he comply with statute.

               Colton is not only an attorney who posses the skill and sophistication to know
         that neither the State Bar Rules of Professional Conduct, Code of Civil Procedure, nor
    10 Rules of Court should not be circumvented. Colton also should know it is improper
    11   and unethical to violate client confidences and the other morally improper conduct
    12 described herein.

    13         Therefore, Colton's Jan. 28, 2019 vexatious "Opposition" and "Declaration" in ',
    14 support of his attempt to essentially circumvent class lead counsel adequacy criteria

    15 ~ ordered by this court, are in bad faith and constitute his attempt to further circumvent

    16 these court Rules and Orders.

    17         PLAINTIFF COUNSEL COLTON'S IMPROPER PLEADINGS ARE
    18 ALSO AN IMPROPER USE OF THE COURT'S PROCESS FOR NEFARIOUS

    19 ~ PURPOSES. AND HENCE JUSTIFY SANCTIONS AND A CONTEMPT

    20   t'1 '
    21         Moreover, Colton's referenced 01/28/2019 pleadings are in unequivocal
    22 violation of Bus. and Professions Code § 6068 (e)(1) as to at least one of his former

    23 clients, non-party, Dr. Nabili . (Decl. Nabili ¶ 9-10). Colton has made no attempt to

    24 balance his desire to oppose an amicus brief on just grounds, versus Colton's highly

    25 unprofessional and charged pleading which without regard, violated multiple client's

    26
                                                  - a-
    27     REPLY BRIEF IN FURTHER SUPPORT OF "REQUEST FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN
                OPPOSITION TO ROLAND C. COLTON'S APPLICATION FOR LEAD CLASS COUNSEL"
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     1 attorney work product, and privilege, not to mention blatantly and willfully violates
     2 distinct anonymized court orders.

     3        Hence, to deter further bad acts by the twice State Bar disciplined counsel
     4 Colton, at minimum an order to show cause should issue as to Colton's violation of the

     5 referenced court orders.

     6

     7

     8                                     CONCLUSION
     9        Amicus Curiae's Request for Leave to File Amicus Brief is filed in good faith,
    10 and intended to protect the proposed class, as well as jurisprudence in this matter.

    11            Amici's further Requests for(1)an order to seal and strike Plaintiff Counsel
    12 Colton's Jan. 28, 2019 blatantly improper pleading and declaration, as well as (2)

    13 Request for sanctions, costs, and fees and (3) Request to hold Colton in Contempt is

    14 based on good showing and just cause and should be granted in conformity with the

    15 laws of this Court.

    16

    17            DATE: February 10, 2019
    18

    19                                                   Respectfully Submitted,

    20                                               /S/ N. Alai
    21                                               N. Alai
    22

    23

    24

    25

    26
                                                  - ~-
    27    REPLY BRIEF IN FURTHER SUPPORT OF "REQUEST FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN
               OPPOSITION TO ROLAND C. COLTON'S APPLICATION FOR LEAD CLASS COUNSEL"
    28
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     1 DECLARATION OF NILI ALAI IN SUPPORT OF AMICUS BRIEF
     2
            1. I am not a party to this action and I file the herewith brief and declaration
     3
               in good faith, and not for any improper purpose.
     4
            2. I am a medical doctor, duly licensed to practice medicine in the State of
     5
               California. I am competent to testify to the contents of this declaration, and
     6
               make the same based on my own knowledge.
     7
            3. I am aware of these facts based on my knowledge, and through
     8
               admissions made by Roland Colton to me. I have known Colton in a
     9
               personal and professional capacity for more than 10 years.
    10
            4. I was represented by lawyer Roland Colton as counsel of record, from about
    11
               February 2015-June 2016 in Orange County Superior Court case No. 30-
    12
               2012-00549174.
    13
            5. I never waived my Attorney client privilege with Mr. Colton.
    14
            6. I never waived court ordered anonymity in the referenced case of exceptional
    15         circumstances, nor have I ever authorized Mr. Colton to de-anonymize the
    16         same. In fact, on or about August 18, 2018 I specifically wrote Colton and his
    17         lawyers a detailed written correspondence with courtesy copies of the
    18          anonymized court orders, with an unambiguous demand to not violate the
    19          anonymized case, deemed of exceptional nature by the court. Hence it was
    20         extremely distressing to find out that Colton filed a blatant violation of those
    21         orders, and purposely de-anonymized a highly exceptional case in public
    22         federal court pleadings. Colton's conduct and bad faith act to de-anonymize a

    23         highly sensitive matter ordered by the court as of"exceptional circumstance",

    24
                would thus be unjust and improper.
            7. I have never authorized Mr. Colton to release "our" email communications, or
    25
                any other attorney client privilege documents, or information.
    26
                                                 - ,,,-
    27    REPLY BRIEF IN FURTHER SUPPORT OF "REQUEST FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN
               OPPOSITION TO ROLAND C. COLTON'S APPLICATION FOR LEAD CLASS COUNSEL"
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             8. Attached hereto as Exhibit"A" is are true and correct copy of the letter

     1
                which Colton sent demanding that the amicus brief be withdrawn, and

     2
                deprive the court of the vital information.

     3
            9. Attached hereto as Exhibit"B" is are true and correct copy of Colton's

     4
                DENIED ex parte dated Feb. 7, 2019 on his demand to withdraw the

     5
                amicus brief from this Federal Court, and to issue a gag order as to

     6
                remarks about his crimes and federal convictions.

     7       10.    Attached hereto as Exhibit"C" is are true and correct copy of the ex

     8          parte application to force withdrawal of this amicus brief which Colton

     9          filed in Superior court(Denied on Feb 7, 2019).

    l0       1 1.   Attached hereto as Exhibit"D" is are true and correct copy of the letter

    11          which I sent to Colton in August 2018 warning as to the anonymized

    12          court orders.

    13       12. I have incurred costs, filing fees, and attorney fees in excess of $1680

    14          for filing this Reply brief, seeking legal counsel, and filing fees.

    15       13. It remains my unequivocal opinion that Roland Colton is unfit as class

    16          counsel as to his most recent alleged State Bar Rules violations as to

    17          attorney client privilege, criminal convictions, habitual dishonesty,

    18          financial crimes, and career long moral turpitude, and that he should not

    19          be so appointed.

    20      I declare under penalty of perjury, pursuant to the laws of the State of
    21 California, that the foregoing is true and correct.

    22

    23          DATE: February 10, 2019                      /S/ N. Alai
    24                                                       Nili Alai
    25                                                On Behalf of Amicus Curiae
    26
                                                 - t1-
    27    REPLY BRIEF IN FURTHER SUPPORT OF "REQUEST FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN
               OPPOSITION TO ROLAND C. COLTON'S APPLICATION FOR LEAD CLASS COUNSEL"
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      DECLARATION OF SAM NABILI
  l

  2   1. I am a medical doctor, duly licensed to practice medicine in the State of California. I air
  3        competent to testify to the contents of this declaration, and make the same based on my owr
  4        knowledge.
  5   2. I was represented by attorney Roland Colton as counsel of record, from about February 2015
  6        June 2018 in Orange County Superior Court case No. 30-2012-00549174.
  7   3. I am not a party to any action against Mr. Cotlon and I never waived my Attorney clien
  8        privilege.
  9   4. I have never authorized Mr. Cotlon to release "our" email communications, or any other
 10        attorney client privilege documents, or information.
 11   5. Therefore, I was appalled to find out that Mr. Colton without my knowledge, prior
 12        authorization, or any consent, had released our emails and various confidential attorney clierr
 13        work product and communications in a completely unrelated matter entitled 2:17-cv-05872
 14        DSF-KS Br-unilda Stephens v. Nordstrom, Inc. et al in Central District of Federal Court.
 15   6. On Jan. 28, 2019 Mr. Colton blatantly released approximately ten (10) of my emails, or thosf
 16        emails which 1 caused to be sent, or was carbon copied in my legal representation by Colton.
 17   7.     Mr. Colton's Jan. 28, 2019 filing entitled "Declaration ofRoland C. Colton in Support o~
 18        Plaintiff' Objections and Opposition to Nili Alai's Reguest to File an Amicus Curiae Brief'
 19        was a violation of my attorney client privilege.
 20   8. At no time before or after Colton's 1/28/19 filing his Declaration under oath in federal court
 21        did Colton ever call, email, or notify in any manner that he had released my emails, or in an}
 22        way purport that he inadvertently released the same, or let me know of his disclosures.
 23   9. As a result of Mr. Colton's blatant violation of my attorney client privilege and unautho~
 24        release of my confidential documents, legal advice was obtained.               Based on
 25        aforementioned, it is thus my understanding that legal counsel has advised the following:
 26           • Colton violated Bus. and Professions Code § 6068 (e)(1): Client Confidentiality;
 27           • Colton violated State Bar Rules of Professional Conduct, Rule 3-100; and.
 28           • Colton violated public policy.


                                                    t
                                    DECLARATION OF SIAMAK NABILI, M.D.
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  1

  2   10. I never authorized Mr. Colton's dissemination of our email communications. Thus,

  3      respectfully request that Colton's referenced 1/28/2019 pleading should be stricken and Seale
  4       and his unethical conduct before the court, sanctioned.
  5
  6          I declare under penalty of perjury, pursuant to the laws of the State of California, that

  7   foregoing is true and correct.

  8
  9          DATE: February 10, 2019 executed at Orange County ,California.

 10
 11

 12                                                 Siamak Nabili, M.D.

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                                   DECLARATION OF SIAMAK NABILI, M.D.
Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 15 of 116 Page ID #:1399




                                                        ~~      f~
Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 16 of 116 Page ID #:1400




Florence, David

From:                           Roland COLTON <rcc7@msn.com>
Sent:                           Tuesday, February 05, 2019 6:57 PM
To:                             Bertsche, Corinne; Florence, David; N. Afai
Cc:                             Siamak Nabili
Subject:                        [EXT] Re: SECOND REQUEST: 2:17-cv-05872-DSF-KS Brunilda Stephens v. Nordstrom,
                                Inc. et al
Attachments:                     Letter re ALAI 2-5-19 (signed).pdf



E3ctema!email


N ili,

Your attention is directed to the attached letter, which responds to your emails of Feb. 1st and Feb. 4th.



Roland C. C~Iton
COLTON LAW GROUP
?8202 Cabot Road
3rd Floor
Laguna Niguel, CA. 92677
Phone:(949) 365-5660
Fax:(949) 36~-5662




From: N. Alai
Sent: Monday, February 4, 2019 7:47 PM
To: Roland Colton; Corinne Bertsche; David Florence
Cc: 5iamak Nabili
Subject: SECOND REQUEST: Time Sensitive EX PARTE Re: Colton Court Order Violations 2:17-cv-05872-DSF-KS Brunilda
Stephens v. Nordstrom, Inc. et al
SECOND REQUEST

Feb 4, 2019


Dear Counsel,

Kindly advise of your response to the Feb 1, 201.9 correspondence.
We would. expect that this matter maybe resolved between parties
and not require the courts' intervention.

 Given that (1 ~ Defendant Colton's court order violation was a full 5 months AFTER
 he and his counset were in good faith put on written notice of the court orders with courtesy copies of the
same, and
(2) therefore Colton and his counsel. all knew or should have known of the orders;
Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 17 of 116 Page ID #:1401



~t appears that Colton's ~cillfu] acts in de-anonmyzing a court ordered anonymous case of exceptional
circumstance
was be in extremely bad faith, carried out: for nefarious purpose and intent, and in violation of Rules of Court
and State Bar Rules.

It is Plaintiffs position that counsel are ec~uall}~ charged e~~ith a dut~~ to uphold
t hese court orders once made aware of them. Hence, you have and had knowledge of your client's actions.
1 apologize because there is no tactful manner to sa~~ this, but it is well established that Mr. Colton is a
criminal with mtiltiple
State Sar public actions, but his current counsel should not have to be bound b}~ his unlawful acts,
nor have to go do«~n such a egregious path.

However, should there not be a written agreement of parties b_y the close of business Tuesday 2~5/ 19
and swift and reasonable proposed correction by Defendant Colton and his counsel to seal and thus mitigate
his unla~~ful conduct,
eve intend to file ex parte for a seal order, as ~~~ell as monetary° sanctions against
Defendant and counsel pursuant to Rule 2.30, as well as the Federa] court corollaries.

Again, you are put on SECOND notice that Dr. Nabili never waived an_y privilege and he remains the holder of
that privilege as well. Mr. Cotton's violation is highly improper- and should be corrected.

((Defendant agrees to immediately- move to seal the referenced pleading, we would be agreeable to not seek an
ex parte application and sanctions for this violation.

In regards to an award of sanctions and attorney fees to Plaintiff', please be reminded of Mix v. Tt~manjan
DeUelop. Corp.(2002) ]02 CA4th 1318, ]324 as to the same for pro se or limited scope litigants without an
attorney of record.

Thank you in advance for your anticipated cooperation.

Sincerely,
Ally


On Friday, February 1 , 2019..6 44 16 PM PST.. N Alai wrote


Dear Counsel and Mr. Colton,

We received notice of your filing -docket entry #56( 1/28/19) this afternoon. This is the earliest notice
possible to parties.

We were alerted to Mr. Colton and Mr. Eskanderi's unlawful filing m the case m Federal Court
2: ]7-cv-05872-I)SF-KS Bnmild~~ StephE:ns ~~. Nor~istr~~m, Inc. et al. ~~~tiereb~ ~~ou ~~-ilifull~ did the follo~~~in:;:

    1    Violated Court Orders as to an anonymized matter:
    2.   Violated attorney client confidentiality of Sam Nabili through dissemination of his emails without authorization or
         release:
   3.    Violated attorney client confidentiality of Nili Alai through dissemination of her emails without authorization:
   4.    Violated Business and Professions Code 6068 (e)(1);
   5     Violated Former State Bar Rule 3-100(A~;
   6     Violated attorney requirement for candor to tribunal ~viih false dates (Decl. Colton !~l 1 ); ~~nd
   7     Falsification of facts: Decl Colton': '~ -1 "histcniral nu~~cl" ~~~h~rcas in truth ~~~as reler~nceci corrcctl~~ as




Please see the attached correspondence and Exhibits Court orders1 served toyouu on Asst 12, 2018.
Therefore, ~~°hc~n o~1 l,/28j 19 ~~oii violate°d the court orcjei-s, ~~ou kne~ti~ or should ha~~c kno~s~n of the orders.
Moreo~~er, as you represented the anon~~mizecl parties in that action in ZOI~ and 2016, ~°ou ~~lso kne~t~ and
Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 18 of 116 Page ID #:1402



should have known of the anonymous nature of an exceptional nature as ruled by the court. We have not
included co-counsel Eskanderi here as the 8/ 12/ 18 letter most importantly references the anonti~mized court
orders, as well as attorney client privilege which parties have not and will not waive.

By nature of the referenced Orders, your mere publication and de-anonymization of the parties in the ordered exceptional
matter is also a violation of the Orders. Moreover, Colton certainly could be argued has implicated his own attorneys and
co-counsel as well, referenced infra. We will also reiterate that neither Dr. Nabili nor Dr. Alai have ever released or waived
privilege, and certainly not their emails. Dr. Nabili has no active litigation thus Mr. Cotton clearly should know he has no
right to violate Dr. Nabili's attorney client privilege, which Colton has certainly done. (Decl. Colton!~2~ u~~d Exh. C)

Mr. Colton, your habitual conduct is not only dirty, shameful and in bad faith, it is certainly unlawful-
as you as a convicted felon well should know.
As you and your attorneys were notified vis-a-vis the clearly outlined 6 page correspondence dated 8/ 12/ 18 ,
any de-anonymization of the referenced matter (and Order) is not only improper, but also sanctionable
conduct for an attorney, and further actionable.

Accordingly, we assume that you are agreeable to (1) urgently file a motion to seal your referenced
pleadings,(2) mitigate the inadvertent further release of the same in 2:17-cv-05872-DSF-KS Brunilda
Stephens v. Nordstrom, Inc. et al, or any other matters which you have done the same.

As further relevant history, on January 30, 2019 Ms. Bertsche and Mr. Florence on behalf of Defendant
Roland C. Colton wrote a demand to "withdraw" the Amicus Curiae brief filed in the Nordstrom matter. As a
statement of facts, the Brief vas simply an abbreviated factual account of Mr. Cotton's criminal enterprises as
documented through his grand jury indictments, federal felony conviction, and federal misdemeanor plea bargain cases,
among others. These are simple truths, facts, and declarations made by Colton which the Court should know about.
Contrary to Mr. Cotton's recent pleading, these are not ad hominem attacks which apparently Colton has now despicably
made. Hence, counsel's baseless demand to silence speech appears without any constitutional or statutory support.
Hence, in absence of any such provided basis, the undersigned will neither cease nor desist.

U nless we receive written confirmation of _your agreement a~le.~ a conformed copy of such a motion to seal by
the close of business on Monday Feb 4, 20]9, it will be assumed that you refuse to correct the references
unlawful conduct.

Accordingly we will be forced to (1) take proper remedial action, (2) prepare filings with each affected court,
and (3) forward formal grievances with exhibits of Mr. Cotton's filing and declaration in his "class action" as to
all involved parties to administrative agencies.

Very Trul~~ Yours,
Nili Alai
Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 19 of 116 Page ID #:1403




                                            V ~~~~
                              ~~~b a~~ ~o ~




                                                  rebruary 5, 2019

       VIA EMAIL (n~ir~lui rryalroo.com}

       Nili Alai
       14 Monarch Bay Plaza
       Suite 383
       Dana Aoint, CA. 92629

              Case:     Your Amicus Curiae Brief'and Kesponsive Pleadings 'hereto

       Dear Ms. Alai:
                                                                                                 of
               This letter responds to your emails of February 1 and 4,2019 regazding your claim
                                                                                on that Mr. Siamik's
       anonymity in connection with your Santa Clara lawsuit and your contenti
                                                                                                   v.
       rights have been abridged by the response t4 your Amicus Curiae BRef, filed in the Stephens
       ;Nordstrom mfltter.
                                                                                                          Curiae
                 I wip remind you that it was your submittal ofthe libelous and defamatory Amicus
                                                                                                      your
       [3i•ief that triggered the need for my myself and my firm to defend itself and respond to
                                                          character ization of me  as a "crimina l"  who   has
       ~~icic~us and contemptible attacks. Your repeated
                                                                               in "general  moral   turpitud e
       "committed financial crimes and habitual frauds," who has engaged
                                                                                                  d therein,
        and repeated acts ofdishonesty," along with baseless and manufactured Lies cantainc
                                                                                               (l4`~ ed. 2005)
        constitutes fibcl per se under California law.(See 5 Witkin, Summary of Cal. Law
                                                                App.  2'° 301; Ghrislia  n Researcl  ~ InsYi[u~e
       forts, §542, p. 795; Boyrch v. Howell(1963} 221 Cal.
        v. ,~lna~•(2007) l48 Cal. App. 4"' 71, 80,}Consequently, at the appropri   ate time, I will be  seeking
                                                                                                but   other
        coii~pcnsatory and punitive damages from you for not just the Arnicus Curiae Brief
        defamatory aitd Libelous statements you have published to third parties. [Ses CACI 1704 which
        permits an award of punitive damages for defamation per se.]

                Your def~tm~ttory actions are particularly egregious in light of your own previous
                                                                                                        and
       recognition that I had "won high standing and praise of trial judges and legal adversaries..."
       your o~vn comments that 1 "was a highly competent attorney      and  experien ced professio~tal with
       nearly 40 years under your belt(who has been)astute in understanding the extreme defense
       tactics, the massive cover-up, and forced disconnects with our legal team through some expert
                                                                                                         ioc~
       and dell defense maneuvers for the Sanle." You also noted with gtowing praise and appreciat
       that l had "enthusiastically assumed representation of   (your} nearly  insumtou ntable case  inid-
       garne."(See your August 7, 2015.)

                       2620? Cabot Road, Saite 300, Laguna Niguel, CA. 92677 * Phunr (949) 3b5-SEbO
Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 20 of 116 Page ID #:1404




                                                                  ~~     f~
   Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 21 of 116 Page ID #:1405
                                             n Court Order Violations 2:17-cv-05872-DSF-KS Brur.   Stephens v. Nordstrom, Inc. et al
2/1/2019                    Yahoo Mail - ~



                                                                       ens v. Nordstrom, Inc.
     Colton Court Order Violations 2:17-cv-05872-DSF-KS Brunilda Steph
     et al

     From: N. Alai (nnalai@yahoo.com)
                                                                                        @lewisbrisbois.com
     To:     rcc7@msn.com; Corinne.bertsche@lewisbrisbois.com; david.florence

     Cc:     nnalai@yahoo.com; snabili@yahoo.com

     Date: Friday, February 1, 2019, 6:44 PM PST



     Dear Counsel and Mr. Colton,
                                                                         afternoon. This is the earliest notice
      We received notice of your filing -docket entry #56 (1/28/19) this
      possible to parties.
                                                                        in the case in Federal Court
      We were alerted to Mr. Colton and Mr. Eskanderi's unlawful filing
                                          Stephe  ns v. Nordst rom,   Inc.  et al. whereby you willfully did the following:
      2:17-cv-05872-DSF-KS Brunilda

             1. Violated Court Orders as to an anonymized matter;
                                                                                          nation of his emails without authorization
             2. Violated attorney client confidentiality of Sam Nabili through dissemi
             or release;
                                                                                      nation of her emails without authorization;
             3. Violated attorney client confidentiality of Nili Alai through dissemi
             4. Violated Business and Professions Code 6068 (e)(1);
             5. Violated Former State Bar Rule 3-100(A);
                                                                                       false dates (Decl. Colton ¶11); and
             6. Violated attorney requirement for candor to tribunal with
                                                                                          s in truth was referenced correctly as
             7. Falsification of facts: Decl. Colton ~ 24 "historical novel" wherea
             "romance novel" .

                                                                         orders) served to you on August 12,
      Please see the attached correspondence and Exhibits (Court
      2018.
                                                                        knew or should have known of the orders.
      Therefore, when on 1/28/19 you violated the court orders, you
                                                                      action in 2015 and 2016, you also knew and
      Moreover, as you represented the anonymized parties in that
                                                                   onal nature as ruled by the court. We have not
      should have known of the anonymous nature of an excepti
                                                                   most importantly references the anonymized
      included co-counsel Eskanderi here as the 8/ 12/ 18 letter
                                                               parties have not and will not waive.
      court orders, as well as attorney client privilege which
                                                                        de-anonymization of the parties in the ordered
      By nature of the referenced Orders, your mere publication and
                                                            Moreove r, Colton  certainly could be argued has implicated his own
      exceptional matter is also a violation of the Orders.
                                                                         reiterate that neither Dr. Nabili nor Dr. Alai have ever
      attorneys and co-counsel as well, referenced infra. We will also
                                                                        Nabili has no active litigation thus Mr. Cotton clearly
      released or waived privilege, and certainly not their emails. Dr.
                                                                   client privilege, which Colton has certainly done. (Decl.
      should know he has no right to violate Dr. Nabili's attorney
      Colton~~25 and Exh. C)
                                                                   ul and in bad faith, it is certainly
       Mr. Colton, your habitual conduct is not only dirty, shamef
       unlawful- as you as a convicted felon well should know.
                                                                     outlined 6 page correspondence dated 8/ 12/ 18
       As you and your attorneys were notified vis-a-vis the clearly
                                                                        not only improper, but also sanctionable
        any de-anonymization of the referenced matter (and Order) is
       conduct for an attorney, and further actionable.
                                                            urgently file a motion to seal your referenced
       Accordingly, we assume that you are agreeable to (1)
                                                              of the same in 2:17-cv-05872-DSF-KS Brunilda
       pleadings,(2) mitigate the inadvertent further release
                                                       matter s which you have done the same.
       Stephens v. Nordstrom, Inc. et al, or any other
                                                                   he and Mr. Florence on behalf of Defendant
       As further relevant history, on January 30, 2019 Ms. Bertsc
                                                                   Curiae brief filed in the Nordstrom matter. As a
       Roland C. Colton wrote a demand to "withdraw" the Amicus

                                                                                                                                       1/2
  Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 22 of 116 Page ID #:1406

2/1/2019                  Yahoo Mail - ,   n Court Order Violations 2:17-cv-05872-DSF-KS Brur,   .itephens v. Nordstrom, Inc. et al



     statement of facts, the Brief was simply an abbreviated factual account of Mr. Cotton's criminal enterprises as
     documented through his grand jury indictments, federal felony conviction, and federal misdemeanor plea bargain cases,
     among others. These are simple truths, facts, and declarations made by Colton which the Court should know about.
     Contrary to Mr. Cotton's recent pleading, these are not ad hominem attacks which apparently Colton has now despicably
     made. Hence, counsel's baseless demand to silence speech appears without any constitutional or statutory support.
     Hence, in absence of any such provided basis, the undersigned will neither cease nor desist.

     Unless we receive written confirmation of your agreement and a conformed copy of such a motion to seal by
     the close of business on Monday Feb 4, 2019, it will be assumed that you refuse to correct the references
     unlawful conduct.

     Accordingly we will be forced to (1) take proper remedial action, (2) prepare filings with each affected court,
     and (3) forward formal grievances with exhibits of Mr. Cotton's filing and declaration in his "class action" as
     to all involved parties to administrative agencies.

     Very Truly Yours,
     Nili Alai



            18-8-12 LTTR to COLTON cousnel HIGHLIGHTED as to DOE case re SAC and court orders ROLAND VIOLATION.pdf
       ~~   865.7kB
            19-1-28 ROLAND DECLARATION OPP violated court order 031129844998 HIGHLIGHTED.pdf
      r~~   468kB




                                                                                                                                      2/2
Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 23 of 116 Page ID #:1407




                                                    ~f      ~~
      Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 24 of 116 Page ID #:1408




                        LEWIS BRISBOIS BISGAARD &SMITH Li,r
                        CORINNE C. BERTSCHE,SB# 174939                             ELECTRONICALLY FILED
                                                                                    5~iperior Court of Califor•ni~,
                   2      E-Mail: Corinne.Bertsche@lewisbrisbois.com                      tount~+ of Grange
                        DAVID M. FLORENCE,SB# 242857
                   3      E-Mail: David.Florence@lewisbrisbois.com                  02/06j~~19 at 41:54:44 PM
                        701 B Street, Suite 1900                                     Clerk of the Superior Court
                   4    San Diego, California 92101                                  Ey AJan SiIv~,Deputy Clerk
                        Telephone: 619.233.1006
                   5    Facsimile: 619.233.8627

                   6 Attorneys for Defendant ROLAND C. COLTON
                     dba COLTON LAW GROUP
                   7

                   8                             SUPERIOR COURT OF THE STATE OF CALIFORNIA

                   9                             COUNTY OF ORANGE,CENTRAL JUSTICE CENTER

                   10

                   11 ~ NILI ALAI,                                       CASE NO. 30-2017-00915715-CU-PN-CJC

                   12                       Plaintiff,                   DEFENDANT ROLAND C. COLTON DBA
                                                                         COLTON LAW GROUP'S EXPARTE
                   13            vs.                                     APPLICATION FOR A PROTECTIVE
                                                                         ORDER,OR IN THE ALTERNATIVE,AN
                   14 ROLAND COLTON,An Individual practicing             ORDER SHORTENING TIME FOR A
                      as COLTON LAW GROUP,a fictitious                   MOT10N FOR A PROTECTIVE ORDER;
                   15 business name, otherwise form unknown;             MEMORANDUM OF POINTS AND
                      JAMES EDWIN POLLOCK, an individual;                AUTHORITIES
                   16 DANIEL HODES,an individual, also known
                      as DANIEL M. HODES; JASON CARUSO,                  Date: February 7, 2019
                   17 an individual, also known as JASON                 Time: 1:30 p.m.
                      MOBERLY CARUSO; JEFFREY MILMAN,                    Judge: Hon. Ronald L. Bauer
                   18 an individual, also known as JEFFREY A.            Dept.: CX103
                      MILMAN; KEVIN G. LIEBECK, an
                   19 individual; HODES,MILMAN & LIEBECK,                Action Filed: 4/19/2017
                      LLP, a business corporation also known as          Trial Date: 9/30/2019
                   20 HODES MILMAN LLP; AND
                      DOES 4-50 Inclusive,
                   21
                                      Defendants.
                   22

                   23            TO ALL PARTIES AND THEIR ATTORNEY'S OF RECORD:

                   24            NOTICE IS HEREBY GNEN that on February 7,2019 at 1:30 p.m., or as soon

                   25 thereafter as counsel may be heard, in Department CX103 of the Orange County Superior Court,

                   26 '~ Civil Complex Center, located at 751 West Santa Ana Boulevard, Santa Ana, California 92701,

                   27 ~ Defendant ROLAND C. COLTON dba COLTON LAW GROUP,erroneously named as Roland

LEI$               28 Colton, An Individual practicing as Colton Law Group, a fictitious business name, otherwise form
BRISBOIS
BISGAARD                4810-8743-6423.1                                 1
& ~
AifIX7NEV5 Al~
             lAW
                                           DEFENDANT COLTON'S EXPARTS APPLICATION FOR A PROTECTIVE ORDER
      Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 25 of 116 Page ID #:1409




                   1 unknown ("Colton") will appear ex parte for an order in this case precluding Plaintiff Nili Alai

                   2 ("Plaintiff') from contacting Colton's clients, filing documents in his cases where she is not a

                  3 party and has no interest, contacting Colton or his wife regarding this legal malpractice action, and

                  4 requiring Plaintiff to withdraw her amicus brief filed in Colton's unrelated federal action.

                  5 Alternatively, Colton requests an order shortening time for a motion for a protective order.

                  6             This application is made pursuant to Code of Civil Procedure section 128 and California

                   7 Rules of Court, rules 3.1200, et seq. governing ex parte applications.

                   8            Good cause exists for the requested relief. Plaintiff has interfered with Colton's practice

                   9 and representation of clients by searching for cases where he is counsel and inserting herself into

                  10 said action. This includes filing an amicus brief in a federal court action pending in Central

                  11 District of California, falsely asserting that Colton is unfit and a criminal to request that he not be

                  12 appointed class counsel, despite that she is not a party and has no interest in that litigation.

                  13 Plaintiff has threatened to sue Colton's wife for allegedly "misrepresenting" that Colton was a

                  14 spectacular attorney, and has sent emails to both Colton and his wife in this case despite requests

                  15 to stop. She has filed state bar complaints against not only Colton, but also defense counsel in the

                  16 underlying Shang litigation, as well as sanctions motions, and now threatens sanctions against

                  17 defense counsel in this litigation, attorneys Corinne Bertsche and David Florence. Plaintiff's

                  18 actions and threatened actions are plainly improper, harassing and must cease immediately.

                  19 Intervention by this Court is necessary and time is of the essence.

                  20            This ex parte application is based upon this notice of application, the memorandum of

                  21 points and authorities in support, the declaration of David M. Florence in support, the entire court

                  22 ///

                  23 ///

                  24 ///

                  25 ///

                  26 ///

                  27 ///

                       ///
LEWIS             28
BRISBOIS
BISGAARD               4810-8743-6423.1                                    2
&SMIH 11P                                 DEFENDANT COLTON'S EXPARTS APPLICATION FOR A PROTECTIVE ORDER
AifORNEYS AT UW
    Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 26 of 116 Page ID #:1410




                1 file in this matter, and upon such other and further oral and documentary evidence as maybe

                2 presented at or before the hearing on this ex pane application.

                3

                4 DATED: February 6,2019                       LEWIS BRISBOIS BISGAARD &SMITH LLP

                5

                6                                                   Corinne C. Bertsche
                7                                                   David M. Florence
                                                                    Attorneys for Defendant ROLAND COLTON,dba
                8                                                   COLTON LAW GROUP

                9

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LEWIS
BRISBOIS
BISGAARD             4810-8743-6423.1                                3
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           ww                           DEFENDANT COLTON'S EXPARTS APPLICATION FOR A PROTECTIVE ORDER
     Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 27 of 116 Page ID #:1411




                   1                              MEMORANDUM OF POINTS AND AUTHORITIES

                   2          I.        INTRODUCTION AND STATEMENT OF FACTS

                  3                Colton respectfully requests an order in this case precluding Plaintiff from contacting

                   4 Colton's clients, filing documents in his cases where she is not a party and has no interest,

                   S contacting Colton or his wife regarding this legal malpractice action, and requiring Plaintiff to

                   6 ~ withdraw her amicus brief filed in Colton's unrelated federal action where he has applied to act as

                   7 lead class counsel.

                   8 ',            A. The Underlying Medical Malpractice Action

                   9               This action arises from defendants' representation of plaintiff, Nili Alai, M.D.("Plaintiff')

                  10 in pursuit of her medical malpractice action against her ophthalmologist, Dr. Barbara Ya-Hui

                  11 Shang for personal injuries she claimed to have suffered as a result of contracting the Epidemic

                  12 keratoconjunctivitis("EKC") virus after being treated by Dr. Shang. Plaintiff had multiple

                  13 attorneys representing her at various times throughout the underlying action. Colton was the last

                  14 in a long line of attorneys, and represented Plaintiff through trial.'

                  15               Plaintiff repeatedly failed to cooperate and engaged in abuses to the discovery process

                  16 throughout the underlying action, including violating several court orders prior to Colton's

                  17 representation. Specifically, Plaintiff was sanctioned by the trial court for repeatedly contacting

                  18 Dr. Shang's patients and other willful discovery abuses in violation of court orders precluding her

                  19 from doing so. (Exhibits A to Florence Decl. — 3/25/16 Minute Order from underlying action.)

                  20 Her egregious conduct included fabricating an EKC Foundation and mailing packages to Dr.

                  21 Shang's patients to obtain their medical information under false pretenses. (See Exhibit A,B, and

                  22 C to Florence Decl. — 3/25/16, 10/31/14, and 12/1/14 Minute Orders from underlying action.)

                  23 Plaintiff also engaged in other discovery abuses, including failing to provide key witness

                  24 information necessary to dispute her claims. Plaintiff's discovery abuses and violations led to the

                  25

                  26

                  27 'Plaintiff had been represented by five different attorneys during the underlying action, and also acted in
                     pro per during various times.
LEWIS             28
BRISBOIS
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& ~
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            lAW
                                             DEFENDANT COLTON'S EXPARTS APPLICATION FOR A PROTECTIVE ORDER
Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 28 of 116 Page ID #:1412




                                                         /1       11
Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 29 of 116 Page ID #:1413




                                                 N. Alai
                                      14 Monarch Bay Plaza Suite 383
                                           Dana Point, CA 92629


           August 12, 2018

           Corinne C. Bertsche, Esq.
           David M. Florence, Esq.
           Lewis Brisbois
           701 B Street, Suite 1900,
           San Diego, CA 92101
           T: 619.685.5507
           F: 619.233.8627
           Corinne.Bertsche@lewisbrisbois.com
           David.Florence@lewisbrisbois.com
           Janet.Smith@lewisbrisbois.com
                                            (EXPEDITED FOR DELIVERY- NOT PROOFED)
           James Edwin Pollock, SBN # 44320
           51 Dead Horse Loop,
           Alton, UT 84710
           Phone:(801)520-5635
           pollockje@gmail.com
           PO Box 100771
           Alton, UT 84710-0771

                                                            VIA EMAIL & U.S. MAIL

           Re:             Nili Alai v. Roland Colton, et al.
                  Insured: Colton Law Group and Roland C. Colton
                  Orange County Superior Court Case No.: 30-2017-00915715-CU-PN-CJC


           Dear David, Conine, and Counsel for Defendants Mr. Colton ("Colton Law Group") and
           Mr. Pollock,

                  Thank you for your outreach last week and it was a pleasure connecting with
           David telephonically last Friday. To memorialize my conversation with David on August
           10, 2018, kindly find the following communication.
                  We reviewed briefly the parties' dispute regarding the causes of action listed in
           the SAC. With respect to Defendant's position that the SAC is defective for lacking the
           Colton fee agreement in full, the complete agreement is attached to the lodged exhibit to


                  Insured: Colton Law Group and Roland C. Colton
                  Orange County Superior Court Case No.: 30-2017-00915715-CU-PN-CJC
                  Plaintiff's Correspondence on SAC and Notice of Court Orders
                                                                                   Page
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           the State Bar Act, in addition to breach of contract, and subject to civil remedies.
                   Retainer Colton: Engagement and Fee Agreement (page four) ¶ 7(d) states "the
           Firm  shall refund the $75,000 fixed fee payment referred to in paragraph la, above, less
           any costs that have been expended by the Firm in connection with this engagement
           within ten (10)days of withdrawal.
                   Since Defendant has refused to return the unearned funds, Plaintiff again makes a
           demand for Defendant to immediately return to Plaintiff these funds. In sum, Defendant
           has not only willfully failed to perform pursuant to contract, but he has egregiously
           refused to return Plaintiffs funds.

           DEMAND TO DEFENDANT TO MITIGATE COLLECTED FEES IN OTHER
           ACTIONS
                  Defendant Colton began representation of Plaintiff in a separate anonymized case
           in November 2015 without an advance fee agreement in violation of B&P Code §§ 6146
           and 6148. Defendant then generated a surreptitious invoice for more than $2500 for his
           services which Plaintiff paid under check #24881. A.I. Credit Corp., Inc. v. Aguilar &
           Sebastinelli (2003) 113 Ca1.App.4th 1072 (Aguilar), holding as a matter of law that an
           attorney violating an ethical obligation is not entitled to fees (id. at p. 1079) Plaintiff
           makes a demand on Defendant to return those funds.

           NOTICE OF THREE COURT ORDERS ON ANONYMIZED CASE FILED
           HERETO"IN-CAMERA" AND "UNDER-SEAL"
                  Defendant specifically de-anonymized a case to named Plaintiffs, a case which
           pursuant to multiple Court orders is prohibited from such willful de-anonymization.
                  Defendants and their counsel are herewith put on notice of at least three court
           orders, as now relevant to Defendants' conduct in this litigation. These Court orders are
           not for public court filing within this action, and if need to be used, must be used
           judiciously as under seal or in-camera.
                  Counsel is in good faith cautioned that the mere publication of these orders
           within this action and hence deanonymization of either of the Plaintiffs in the referenced
           action, whether intentional or negligent, would likely result in prosecution by the
           ordering court and applicable administrative bodies pursuant to Bus. and Profess. Code §
           6103.


           PLAINTIFF'S DEMAND FOR DEFENDANT TO MITIGATE WRONGFUL
           PRIOR DE-ANONYMIZATION DISCLOSURES IN ALAI TES. SHANG
              For example, Defendant has knowingly violated an anonymized case which was
       court ordered as "exceptional circumstances" warranting the same. Defendant filed a MIL
       in April 2016 which willfully deanonymized a court ordered anonymous pleading.
       Defendant's willful and possible negligent violation ofthe referenced Court orders resulted
       in damages and adverse outcomes to Plaintiff. On other dates during his representation,
       Defendant further willfully de-anonymized a court ordered Doe case and listed the Doe
       party by full name in violation of multiple Court orders.


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               Defendant has at best, violated a fundamental principle in jurisprudence and the
       client-lawyer relationship, that, in the absence of the client's informed consent, a member
       must not reveal information relating to the representation. (See, e.g., Commercial
       Standard Title Co. v. Superior Court(1979) 92 Cal.App.3d 934, 945 [155 Ca1.Rptr.393].)
       Here, Defendant has willfully violated the State Bar Act, and violated Public Policy.
       Should Defendant's conduct continue through this action, which would be highly unlikely,
       sanctions may be sought and would be warranted.(Abandonato v. Coldren (1995)41 Cal.
       App. 4th 264)

                DEFENDANTS ARE STATUTORILY BARRED FROM DISCLOSURE
                    OF CONFIDENTIAL ATTORNEY-CLIENT INFORMATION
               Plaintiff, an attorney for Defendants cannot disclose any confidential information
       obtained in the representation of his clients without client's informed consent. (See
       Business and Professions Code section 6068(e)(1) and rule 3-100(A).) While in most
       situations, the identity of a client is not considered confidential and in such circumstances
       Attorney may disclose the fact of the representation to "Prospective Client without Witness
       Client's consent. Los Angeles County Bar Association Formal Opn. Nos. 456, 374.7/", the
       case of an anonymized Doefiling and court orders ordering the same do notfall under
       this heading.
               Rule 3-100 "Confidential Information of a Client" cites"(A) A member shall not
       reveal information protected from disclosure by Business and Professions Code section
       6068, subdivision (e)(1) without the informed consent of the client, or as provided in
       paragraph(B)of this rule.".
              [1] Dury of confidentiality. Paragraph (A) relates to a member's obligations under
       Business and Professions Code section 6068, subdivision (e)(1), which provides it is a duty
       of a member:"To maintain inviolate the confidence, and at every peril to himself or herself
       to preserve the secrets, of his or her client." A member's duty to preserve the
       confidentiality of client information involves public policies of paramount importance.(In
       Re Jordan (1974) 12 Ca1.3d 575, 580 [116 Ca1.Rptr. 371].) Preserving the confidentiality
       of client information contributes to the trust that is the hallmark of the client-lawyer
       relationship.

       FURTHER DE-ANONYMIZATION OF REFERENCED CASE BY DEFENDANT(OR
       HIS REPRESENTATIVES) WOULD VIOLATE COURT ORDERS
               Defendants and their counsel, agents, or representatives know or should know of the
       Court orders governing the anonymized matter. Defendants are therefore again cautioned that
       the mere publication of these court orders within this action and hence deanonymization of
       either of the Plaintiffs in the referenced action, whether intentional or negligent, would likely
       result in prosecution pursuant to Bus. and Profess. Code § 6103.

       CLARIFICATION OF NON-REPRESENTATION BY DEFENDANT
               Defendants Colton, Colton Law Group, and Mr. Pollock are no longer attorney for
       either of the Plaintiffs in the base action Alai vs. Shang. Defendants' former representation for
       Plaintiff on all cases has ceased. However, Plaintiff has not and does not intend to waive


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       privilege, work-product, or attorney-client privilege. Hence, Defendant is cautioned to tailor
       released documents within this action and to seal those documents, communications, or
       invoices which would violate privilege.
           Pursuant to Rule 3-100, Defendant(an attorney) is subject to discipline for revealing
       confidential information which was strictly prohibited by Bus. And Profess. Code 6068(e)
      (2). Plaintiff is the holder of the privilege and does not waive privilege with respect to
       Defendants. Defendant is therefore cautioned to make good faith attempts to preserve or
       balance client confidentiality and filing his pleadings in this action.. Rule 3-100 is not
       intended to augment, diminish, or preclude reliance upon, any other exceptions to the duty to
       preserve the confidentiality of client information recognized under California law.(Added by
       order of the Supreme Court, operative July 1, 2004.)

       PLAINTIFF'S UNDERLYING CASES ARE LIVE WITH TRIAL AND UPCOMING
       HEARINGS ON CALENDAR
                Plaintiff has several matters that remain pending before the Courts, several of which
       involve representation by Defendants in this action. For example, one pending matter has a
       hearing on August 30, 2018 and a second action is pending trial on March 9, 2019.
                Further dissemination and violation of client confidences by Defendants that are not
       narrowly tailored to this litigation would be likely prejudicial and possibly detrimental, and
       will force Plaintiff to seek through motions before this Court to justly restrain such willful or
       unintended conduct.

       CONCLUSION
               Plaintiff is agreeable to meet and confer with Defendants on the causes of action in the
       SAC, and in good-faith remains open to further conferring on eliminating one or more COA
       as described herein. Plaintiff has made a demand on Defendants to remit the unearned fee
       retainer which Defendant has converted since April 20, 2016. Pursuant to Defendant's own
       contract, ¶7(d), Defendant was required to refund Plaintiff within 10 days of Defendant's
       withdrawal, which he failed and flat refused to do.
               Notwithstanding ongoing meet and confer efforts, Plaintiff disputes the
       characterization by Defendant that the SAC has irrelevant or improper allegations, or
       paragraphs and images. First, the truth is an absolute defense to such misguided claims by
       Defendant. Moreover, each and every paragraph in the SAC is fully substantiated, factually
       based, and highly relevant to this action as explained herein. Hence, in absence of an
       agreement of parties to resolve one or more of the COA, Plaintiff is unable to remove the
       otherwise relevant paragraphs in the SAC.

           Please feel free to contact me for any comments or questions. Kindly advise if you will
       be accepting service on behalf of Mr. Colton's purported group associate, Mr. Pollock.
           Thank you for your anticipated cooperation with the referenced Court orders.
                                                        Very truly Yours,


                                                         N. Alai


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                        DOCUMENTS
                        DESIGNATED
                     CONFIDENTIAL AND

                             UNDER SEAL

                   PURSUANT TO COURT
                        ORDER




                       NO FURTHER ORDER
                           REQUIRED
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   REFERENCED COURT ORDERS AS TO AN ANONMYZED
     MATTER OF EXCEPTIONAL CIRCUMSTANCE,AND
   COURT ORDERED AS SO WILL BE MADE AVAILABLE TO
  THE COURT IN CAMERA AT ORAL HEARING.THEIR MERE
       PUBLICATION WOULD THUS VIOLATED THE
          REFERENCED ANONYMIZED ORDERS.
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       1                           AFFIDAVIT OF ROLAND C. COLTON

       2
                  I, Roland C. Colton, declare as follows:

       4          1.     I am the defendant named in the within indictment. I have personal

       5   knowledge of the facts set forth in this declaration and, if called and sworn as a witness, I

       6   would be competent to testify to such facts.

       7          2.     I have been an attorney licensed to practice law in the State of California

       8   since June 28, 1978. I operated as a sole practitioner for many years before forming the

       9 law partnership of Colton & Roesser in 1991. My practice was based in San Diego

      10   County unti12005, when I moved my offices to Orange County. I married my present

      I1   wife, Dr. Nahid Birjandi ("Dr. Birjandi"), on June 18, 1999, and have resided with her

      12 since that tune in her Laguna Niguel residence.

      13          3.     On October 11, 2001, I filed Chapter 7 bankruptcy in the Southern Districi
      14 of California. The Trustee appointed to the case was Richard ICippennan ("Trustee"),
      15 represented by the law firm ofPyle, Sims, Duncan &Stevenson.
      16          4.     On December 11, 2001, the Trustee's counsel sent me a letter demanding
      17 that the law firm of Colton & Roesser be dissolved, that all assets ofthe partnership be
      18 sold, and that any surplus be paid over to the Trustee. In December, 2001, the Trustee's
      19 counsel also sent me a letter seeking to terminate the lease where the law fine was
      20 conducting business in Del Mar, California.
      21          5.     The first session of my Rule 2004 bankruptcy examination took place one
      22 month later, on January 15, 2002. During this examination, I answered questions about
                                                          ____ _    __
      23 my finances, my wife's finances, and financial payments that I had made to my wife to
      24 assist her in malting mortgage payments on her residence. During the deposition, the
      25   Trustee's attorney, Peter Duncan, indicated to me and my counsel,"offthe record", that
      26 the Trustee might take legal action against my wife, in view of testimony that I had
      27 provided her financial assistance. I then advised Mr. Duncan that I had not notified my
      28   wife of my bankruptcy, and requested that I be given notice before any legal action was

                                                            1
                                               Affidavit of Roland C. Colton
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       1   taken against my wife so that I could discuss it with her first to minimize the shock and
       2 einbarrassinent to her and her family and the potential disruption to my marriage that was
       3 likely to result; Mr. Duncan gave his word to me and my attorney that he would do so.
       4          6.     Shortly thereafter, on January 30, 2002, without any advance notice, the
       5   Trustee filed a lawsuit against my wife, Dr. Birjandi, seeking to force the sale oFher
       6 residence and pay over the proceeds to the Trustee. A lis pendens was also recorded
       7 simultaneously against my wife's Orange County residence. The lawsuit also sought to
       8 force the turnover of Dr. Birjandi's podiatric practice, a practice to which, as I had
       9 testified, I had never given any financial support. The lawsuit and lis pendens were
      10 served on my wife's parents (temporary guests at the residence), who then shared the
      11   documents with my wife. She was in hysterics when she confronted me with the legal
      12 action. To add to the stress, my wife and I had discovered only days earlier that she was
      13 pregnant with our first child.
      14          7.     Mr. Duncan later tried to justify his action by explaining that my wife had
      15   dual citizenship and might flee the jurisdiction. Mr. Duncan's actions resulted in a
      16 complete breakdown oftrust between myself and the Trustee, greatly escalating the
      17 acrimonious litigation between the parties. His unethical behavior continued as he
      18 violated bankruptcy rules and protective orders entered into in my case.
      19          S.     As hostilities increased, counsel for the Trustee threatened to file lawsuits
      20 against my adult children —Jessica(age 26), Kimberly (age 24), Michael(age 21) and
      21 Christopher (age 19) — for whom I had provided post-high school financial assistance
      22 with respect to tuition, housing and support payments during prior years. At the same
                                                                                    _      _ _ _.
      23 time, the Trustee also threatened litigation against my law partner and law  firm.

      24        9.     Faced with staggering legal fees in defending the banluuptcy litigation and
      25    adversary proceedings, along with the prospects offuture legal action against my
      26 children, my law partner and law firm, my attorney suggested moving for dismissal ofthe
      27 bankruptcy petition. It was clear that I would never be able to obtain the flesh start that I
      28 had sought, and that the personal and financial cost of litigating multi-front actions with

                                                            2
                                               Affidavit of Roland C. Colton
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       1    the Trustee had become extremely burdensome, threatening my marriage, my children,
       2 and my business relationships.
       3           10.   In the midst of mounting litigation, my attorney approached the Trustee
       4 about stipulating to a dismissal of my bankruptcy petition, wherein I would receive no
       5    discharge of my debts. The Trustee responded in writing, on May 21, 2002, stating that
       6 ifI paid a $500,000 penally and stipulated to a denial of discharge, that the Trustee would
       7 agree to the stipulation. I rejected die offer.
       8           11.    Rebuffed by my rejection ofthe penalty payment, the Trustee raised the
       9 stakes even higher. On June 14, 2002, snaking good on his threat, the Trustee filed an
       10 adversary action against my law partner and my law firm, attempting to force the law
       11   firm's dissolution and to recover from my partner one-half of all draws that had been paid
       12 to ine since the filing of the petition, and seeking a termination of the partnership's lease.
       13          12.    On July 1, 2002,I fled a motion to dismiss his bankruptcy petition.
       14 Although the Trustee previously had been willing to stipulate to a dismissal(upon
       15 payment of a substantial penalty), the Trustee now vigorously opposed the motion, and
       16 the motion was denied. The Trustee then went into full throttle against ine and other
       17 parties in the various adversary proceedings.
       18          13.    During the pendency of the bankruptcy, with the assistance of counsel, I
       19 was preparing amendments to my bankruptcy schedules to address any potential
      20 omissions and inaccuracies contained therein. The process of completing the
      21    amendments was frequently diverted due to the constant barrage of motions, subpoenas
      22 and other discovery matters coining from the Trustee that had to be responded to. In
      23 addition, my time was further compromised by the birth of my daughter on October 10,
      24 2002. But for the onset ofsettlement discussions less than two weeks later, the
      25 amendments would have been completed, and would have addressed the allegations
       26 contained within the September 30, 2002 motion discussed below.
       27          14.    On September 30, 2002, the Trustee filed an ex parte motion for a
       28 temporary injunction (without notice), alleging that I had concealed assets and business

                                                             3
                                                Affidavit of Roland C. Colton
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       1    interests (including certain property located in France). At the unopposed ex parte
       2 hearing on October 15, 2002, the court granted the TRO. On October 17, 2002, my
       3    attorney and I were served with a copy ofthe motion and TRO,indicating a preliminary
       4 injunction hearing set for October 25, 2002just eight days later.
       5           15.    On October 22, 2002, my attorney advised ine that he had been told by
       6 counsel for the Trustee, Susan Stevenson,that I "had better settle the case quickly ifI
       7 wanted to avoid future criminal action." I perceived the comment to be borderline
       8    extortion and asked Mr. Curry to note the conversation in my file. I tools very seriously
       9 the implications of having to defend not only the multi-front civil litigation, but also
       10 criminal proceedings in the future.
       11          16.    Mr. Curry advised me that it would be in my best interests to settle the case
       12 quickly in order to avoid criminal action. As a result, settlement discussions ensued
       13 rapidly. During the course ofthe discussions, Mr. Curry made efforts to move the
       14 discussions along as quickly as possible, at times telling me that I might be sacrifsing
       15   certain benefits by doing so. For example, he believed that we could have negotiated a
       16 lower financial obligation with the Trustee, given some additional time. Foremost in my
       17 mind was that we meet the Trustee's demand of reaching a prompt settlement before
       18   criminal action was commenced.
       19          17.     Forsaking the prior $500,000 penally offer, the Trustee felt he had leverage
       20 to ask for much more than before. Over the course of the next few days, I ultimately
       21   committed to paying the Trustee a ~enaliy of up to $1,150,000,' plus agreed to pay an
       22 additional $1,000,000 penalty in the event that I defaulted on the seitleinent agreeineni.
         _      -_ __ _- _                                --     _ -
       23 The Trustee also insisted that I not receive a discharge as part ofthe settlement. Under no
       24 circumstances would I have agreed to such excessive financial penalty and forfeited my
       25   right to a discharge of debts, if I had not understood that the settlement wrapped up all
       26
       27
                   I call the $1,150,000 figure a penalty because only a small fraction ofthe money would be
       28 used to pay creditors. The lion's share ofthe money was to be paid to the Trustee, his attorneys and
          experts, thus resulting in a minimal pay-down of debt with no discharge of bankruptcy.
                                                            4
                                                  Affidavit of Roland C. Colton
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       1   aspects of my case, including any potential criminal action.
       2          18.   In negotiating and drafting the settlement agreements, Mr. Curry advised
       3 me on several occasions that he was taking care to include language as strong as possible
       4 to snake it clear that the settlement would encompass any potential criminal action as
       5 well.
       6          19.    Mr. Curry also told ine that, since the threat of criminal action was gone
       7 with the settlement, there would be no need to file any opposition or reply papers to the
       8   Motion. He further indicated to ine that there would be no need to complete the
       9 amendments to my bankruptcy schedules.
      10          20.    I also had discussions with my wife about moving quickly on the
      11   settlement. With our newborn child less than two weeks old, I reluctantly shared with my
      12 wife the veiled threat of criminal action if I did not act quickly to settle the case. My wife
      13   was horrified about this possibility and told me that I needed to do whatever it took to
      14 resolve the bankruptcy case irrunediately.
      15          21.    My wife told ine that if we were assured that there would be no cruninal
      16 action taken against me that she would assist ine financially with the settlement.. As a
      17 result, she agreed to refinance her residence and allowed approximately $280,000 of the
      18 refinance funds to be used to pay the Trustee in connection with my settlement.
      19          22.    Despite that the settlement involved a huge financial toll for my family, my
      20 wife and I attempted to put the past behind us and get on with our lives. Convinced that
      21   there would not be a criminal action, we decided to have another child. A second
      22 daughter was born to us on March 8, 2005. Neither my wife nor I would have considered
      23 bringing another child into the world if we had believed that I would be facing an
      24 indictment with a risk of years of iinprisorunent. I was particularly sensitive to the
      25   anxiety and panic attacks that my wife had experienced during the pendency of the
      26 adversary proceeding against her in 2002. Words cannot describe the incalculable dread
      27 and shock that we both experienced when we learned of the pending indictment on
      28 November 8, 2005, when Special Agent John Hause approached me at my home and

                                                            5
                                               Affidavit of Rola~id C. Colton
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       1    advised me that I was a target of a federal grand jury criminal proceedings.

       2          23.     I was counsel-of-record in the civil case ofInsurance Ventures, Inc. v.

       3    Yesta Fire Ins. Co. et al., Sacramento Superior Court Case No. 04AS00268, which was

       4 filed in January of 2004. Insurance Ventures was seeking to recover $30,000,000 in

       5    damages from the Vesta Fire Insurance Company ("Vesta"). Shortly after Insurance

       6    Ventures filed its lawsuit, Vesta Fled a retaliatory action against Insurance Ventures, al]

       7    of its officers and attorneys (including myself, in federal court in Sacramento(Case No.

       8    5-04-0296 FCD PAN.) Vesta was represented in both cases by John (Jack)Pierce of

       9 Barger & Wolen. Both cases were aggressively litigated, and my deposition was taken in

      10 the federal court action in September of2005 by Jack Pierce.

      11           24.    During the course of my civil deposition, Mr. Pierce went to great lengths

      12    examining ine on my bankruptcy schedules, including an intensive examination about

      13 ownership of property in France, my wife's purchase of her residence, the major areas of
      14 focus ofthe criminal investigation. At that time, I had no knowledge that There was any
       15 criminal investigation, nor was I aware of any possible future indictment. In fact, I took
       16 comfort in the fact that any potential criminal exposure on the bankruptcy case.was long
       17 since past.
       18          25.    If I had known that there was an ongoing criminal investigation, I would
       19 have had the opportunity to discuss with counsel the merits ofinvoking the Fifth
      20 Amendment against self-incrunination during the deposition. I had no reason to believe,
      21    at that late date (especially with the promise of the Trustee's counsel not to pursue
       22 criminal action) that there was any possibility of a criminal investigation, and therefore
                                           __ _     _ _        -                                  __
       23 did not consider invoking the privilege.
       24          26.     During the course of reviewing discovery from the government, I
       25 subsequently leaxned that Mr. Pierce had been in contact with the goverrunent and was
       26 aware ofthe criminal investigation months before I was, and prior to my civil deposition
       27 in the Insurance Ventures case.
       28          27.     During the course ofreviewing discovery from the goveriunent, I also

                                                              6
                                                 Affidavit of Roland C. Colton
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              learned that the criuminal investigation commenced in tk~e susnrn~r of2002, while niy
              ba~kruptc~y case was pcnding, something t1~at I was not aware o~before. I ftirther
              observed, ~ixl looking thxough the discovery, that: th~xe was na action 1;akez~ in the criux~inal
              ~ investigation following the "global setta~ment" anti.] I had made all but the final payment
         5 ~ oz~ my settlement.
         6            28.     The shame and humiliation that k~as socomp~.nied the indictment is
         7 incalculable. ~~ a person tykes i~. my name wndrx "Google",the iodic rent is front and
         8 center, along wi~la the next several references as will. Maintaining a law practice with the
         9 indictment hanging over my head has been extremely dxt~icult. Phone interviews with
        10 ~ote~ntial clients, who have expressed a st~on~g interest in retaining my sezvices, often
        11     don't call back. Ifa meetis►g does ensue,Ithen feel compelled to disclose the,andictment
        12 and potential impact on xny ability to perf4r~ legal services wbutcb~, under~andably, often
         Z3 leads to a loss ofi'the business.
         l4           29.     Because p~op~e are so quick to check you out these days,Iam very leery
         ~5 about giving out my full name oz profession in making new acquaintances, such as
         I.G meeting parents of my daughters° ~ri~zi.~s at school activities or birttaday parties.
         17           30.     lVly wife comes from a very pz~oud family. Her fiather ~s a pxaminent
         18 businessman in Iran who frequently visits the U.S. algng with his wife. Many of zx~.y
         19 wife's rel.at~ves zesid~ ~~ Qxan,ge County. My wife prefers that news o~my indictment no.
        20 be publicized among her family. A.s a result, she lives in fear that fasni.l~ members will
        21                             e a and that tk~ey will discover the indictment, leading to fi~rther
               check us out on the inter~aet,
        22 shame and emb~rrassm~nt.
        23            Ideclare under penalty of perjury that t e- foregoing is-true and correct acid #}gat this
        24 d~cl~ration was executed on the              day of                      2008 at Caguas Niguel,
        2.5    Caliifornia.
        26
        27
        28

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                                                    Affidavit of Roland C. Colton
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                                                     MAR - i 2019
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                                             BY nn                  C}~'~IfTY
     2 14 Monarch Bay Plaza, Suite 383
       Dana Point, CA 92629
     3
       714-886-9707
     4 On Behalf of Amicus Curiae

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     9                   IN THE UNITED STATES DISTRICT COURT

    l0                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

    11                                WESTERN DIVISION

    12

    13   BRUNILDA STEPHENS, et al                CV 17-05872 DSF(KSx)
    14              Plaintiffs],                 JUDGE: Hon. Dale S. Fischer
    15                     u                     Courtroom: 7D
    16
       NORDSTROM,INC. ET AL.                     AMICUS CURIAE BRIEF
    17 Defendant[s].
                                                 IN OPPOSITION TO
    18                                           PLAINTIFF COUNSEL
    19                                           ROLAND C. COLTON'S
                                                 APPLICATION AS LEAD
    20
                                                 COUNSEL
    21

    22
          TO THE HONORABLE COURT,PARTIES, AND ATTORNEYS OF
    23

    24           ~. ~

    25
          Non-party Nili Alai herein "moving party" files the herewith request for leave of
    26
                                                  - 1-
    27   AMICUS CURIAE BRIEFING IN OPPOSITION TO ROLAND C. COLTON APPLICATION FOR LEAD CLASS
                                                COUNSEL
    28
Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 44 of 116 Page ID #:1428




     1 ~ court to file the referenced amicus curiae brief in opposition to Plaintiff counsel

     2
         Roland C. Colton's application for lead class counsel. Moving party further files this
     3

     4 ~
         brief and attached Lodgment of Exhibits in support of the Court's ruling denying

     5 ~ Roland C. Colton's adequacy as class counsel.

     6

     7                                           STATEMENT
     8
                Your Honor, moving party respectfully seeks leave of Court, thereby allowing
     9

    l0 ~ the filing of this herewith Amicus Brief to inform the Court of the inadequacy of
    11
         ~ Roland C. Colton as lead, case, or class counsel in the referenced matter before this
    12

    13
         ~ court. Whereby, providing information germane to the Court's prior Order to Show

    14 ~ Cause as appointment ofColton et al. as lead counsel. the details of moving

    15
         ~ party's statement of facts are outlined in the Amicus Brief and Exhibits.
    16

    17
                For the reasons set forth herein, it is requested that the Court grant leave to file

    18     said brief, and reconsider the appointment of Colton et al. as lead class counsel.
    19
                Mr. Colton has(1)suppressed the following facts from his declarations to the
    20

    21     Court,(2) made materially false representations in his under-oath declarations as to

    22     his ability to represent the class, as well as(3)inserted "staged" and improbable
    23
          claims in his pleadings to the Order to Show Cause as to Adequacy of Class
    24

    25    Counsel.

    26
                                                   -2-
    27    AMICUS CURIAE BRIEFING IN OPPOSITION TO ROLAND C. COLTON APPLICATION FOR LEAD CLASS
                                                 COUNSEL
    28
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     1        Moreover, as the Court is aware, and the proximal relevance explained herein,
     2
         the California Franchise Tax Board has filed as a "Claimant" in this matter due to
     3

     4
         Mr. Colton's current extreme tax delinquency to the State, which has placed Colton

     5   on the publicly posted California State site entitled "500 Largest Tax
     6
         Delinquencies".
     7

     8        The referenced concealed facts about Roland C. Colton are sufficient for this

     9   Court to rule that Colton is not adequate to be appointed as class counsel, and
    10
         include the following:
    11

    12       1. Colton's federal conviction for felony;

    13       2. Colton's Federal Conviction for plea bargain as misdemeanor in

    14          2011;

    15       3. Colton's Supervised Release from 2011 to 2013;
    16      4. Colton's Grand Jury Indictment for Fraud in San Diego;
    17       5. Colton's Federal probation ending on or about Dec. 31, 2013;
    18      6. Colton's financial crimes and habitual frauds;
    19      7. Colton's false bankruptcies with fraudulent declarations;
    20      8. Colton's twice prior public State Bar discipline; and
    21      9. Colton's general moral turpitude and repeat acts ofdishonesty.
    22

    23    As a note of knowledge of parties and their respective failure to disclose,
    24 it appears that Colton et al. likely also failed to inform the Court ofthe

    25 ongoing California Bar investigations about his misconduct,and federal

    26
                                                  - 3-
    27   AMICUS CURIAE BRIEFING IN OPPOSITION TO ROLAND C. COLTON APPLICATION FOR LEAD CLASS
                                                COUNSEL
    28
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     1   criminal charges against this lead attorney. This is not entirely surprising
     2 considering their prior proven contemptuous actions before the California

     3 Courts. Mr. Colton's candor or lack thereof should therefore facilitate the

     4 Court's ruling whether leave should be granted on consideration of this

     5 Amicus Brief.

     6

     7
           Colton is also related to co-counsel Alexander "Ali" Eskanderi through
     8
         marriage with Nahid Birjandi. Of note each counsel was, or is currently
     9
         married to Ms. Birjandi at one time. Thus, Mr. Eskanderi is consummately
    10
         aware or should be aware of the aforementioned facts including the two
    11
         criminal trials about his co-counsel Roland C. Colton.
    12

    13
          The Court should have the opportunity to be informed of Colton et al.'s
    14
          criminal convictions and chicanery in order to
    15
              1. Protect members ofthe proposed class;
    16
             2. Protect public interest; and
    17
             3. Protect the integrity and general administration ofjustice before the
    18
                 Courts.
    19

    20

    21
           Respectfully Submitted,
    22

    23
         /S/ N. Alai
         N. Alai
    24

    25

    26
                                                  -4-
    27   AMICUS CURIAE BRIEFING IN OPPOSITION TO ROLAND C. COLTON APPLICATION FOR LEAD CLASS
                                                COUNSEL
    28
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     1

     2
                                  SUMMARY OF AMICUS BRIEF
     3

     4
               Non-party Nili Alai herein "moving party" files the herewith amicus curiae

     5     brief in opposition to Plaintiff counsel Roland C. Colton's application for lead
     6
           counsel in this action. Moving party further files this brief in support of the
     7

     8     Court's Order denying Roland C. Colton's application in "adequacy as [class]

     9     counsel".(Decl. Alai ¶¶5-6)
    l0
               For brevity and expedited filing of the Amicus Curiae Brief, moving party
    11

    12     has within this brief detailed only very narrowly tailored Colton cases. While

    13     there are innumerable Fraud complaints filed and prosecuted against Colton in
    14
           civil matters, those are for simplicity not named herein. Moving party is
    15

    16     accessible and willing to file supplemental briefing in this matter as directed, or

    17     otherwise respond to further inquiry as requested by the Court.
    18

    19

    20                                   STATEMENT OF FACTS
    21
               Case lead counsel Mr. Roland C. Colton, State Bar No. 79896 is a twice publicly
    22
         disciplined lawyer and convicted felon. Colton is also actively named, and does in fact
    23
         currently appear on the Franchise Tax Board's site entitled "500 Largest Tax
    24
         Delinquencies". Colton was also tried for further crimes in United States vs. Roland
    25

    26
         C. Colton, whereby he was fined and placed on 2 years of supervised release and
                                                  - 5-
    27   AMICUS CURIAE BRIEFING IN OPPOSITION TO ROLAND C. COLTON APPLICATION FOR LEAD CLASS
                                                COUNSEL
    28
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     1 federally ordered probation for "criminal contempt". His prior probation ended in

     2 December 2013.

     31
                As a matter of public record, the aforementioned facts are fully verified as of

     5 current date
                    on these government sites:

     6
                   1. https://www.ftb.ca.gov/aboutFTB/Delinquent-Taxpayers.shtml; and
     7
                   2. http://members.calbar.ca.gov/fal/Licensee/Detail/79896.
     8

     9 ~ As further matter of public record, Colton's state and federal cases maybe accessed at

    10
                    1. U.S. District Court for the Southern District of California, Case No. 3:06-
    11
                       cr-02252, United States v. Colton
    12
                    2. In the Matter ofRoland Clark Colton State Bar Court Case No. 06-C-
    13
                       15151
    14

    15              3. In the Matter of[Roland) Colton (June 14, 1985) Cal. State Bar Ct. No.

    l6                 84-C-00074

    17

    18
          JUDICIAL NOTICE OF THE SPECIFIED MATTERS IS AUTHORIZED.
    19
                Judicial notice is authorized and may be taken of "Regulations and
    20
          legislative enactments issued by or under the authority of the United States or any
    21
          public entity in the United States." Moreover, a "reviewing court may take judicial
    22
          notice of matters not before the trial court." (Brosterhous v. State Bar (1995) 12
    23
          Cal.4th 315, 325.) Therefore, judicial notice is requested of the Exhibits labeled as
    24
          Attachments"1" to "3" to this brief and these facts:
    25

    26
                                                   -6-
    27    AMICUS CURIAE BRIEFING IN OPPOSITION TO ROLAND C. COLTON APPLICATION FOR LEAD CLASS
                                                 COUNSEL
    28
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              1. In 2010,Roland C. Colton was featured in the U.S. Dept. of Justice Executive
     1        Office
     2       for United States Report to Congress for top Criminal Referrals citing
     3       Accessed at https://www.justice.gov/sites/default/files/ust/legacy/2011/07/13/
     4       Rpt_to_Congress_ on_FY2006_Referrals.pdf (PDF Exh. to SAC)
     5

     6      2. State of California "Top 500 Delinquent Taxpayers" published pursuant
     7      to Calf. Revenue and Taxation Code Section 19195.

     8

     9
               • Pursuant to Public Contract Code 10295.4 State agencies will not enter
                   into contracts for the acquisition of goods and services with Roland C.
    10
                   Colton.
    11
               • Delinquent listing "Roland C. Colton" was updated by the State of
    12
                   California Franchise Tax Board on or about 1/07/2019.
    13         • Roland C. Colton remains on the delinquent tax list for unpaid personal
    14             tax, which is a violation of his State Bar Moral Character reference
    15             requirement.

    16         • Roland Colton still owes the State $1,465,515.59 in unpaid personal
                   income taxes.(Accessed https://www.ftb.ca.gov/aboutFTB/Delinquent-
    17'
                   Taxpayers.shtml#PIT-Panel)
    18

    19

    20

    21

    22
          CURRENT CASE CLAIMANT FRANCHISE TAX BOARD
    23

    24         The California Franchise Tax Board has filed as a "Claimant" in this matter due
    25 to Mr. Colton's current tax delinquency of over $1.4 million dollars owed to the State

    26
                                                   - 7-
    27    AMICUS CURIAE BRIEFING IN OPPOSITION TO ROLAND C. COLTON APPLICATION FOR LEAD CLASS
                                                 COUNSEL
    28
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     1 ~ since prior to 2000, which has placed Colton on the publicly notified California State

     2 site     entitled "500 Largest Tax Delinquencies". Colton also has equal or greater
     3 indebtedness for tax delinquency and evasion to the Internal Revenue Service.

     4

     5
                Roland C. Colton's name currently appears on the State of California Board of
          Equalization "500 Largest Tax Delinquencies". (Accessed on 1/25/19 @ "Top SOO I

     7 Delinquent           Tax        Payers"        https://www.ftb.ca.gov/aboutftb/delinquent-

     8 ~ taxpayers.shtml(a)(3)

     9
                              Pursuant to Bus. and Profess. Code § 494.5(a)(3) Colton's name
    to
          being included on the "500 Delinquent Tax Payers" then authorizes "The State Bar of
    11
          California may recommend to refuse to issue, reactivate, reinstate, or renew a license
    12
          and may recommend to suspend a license if a licensee's name is included on a certified
    13
          list. The word "may" shall be substituted for the word "shall" relating to the issuance
    14
          ofa temporary license, refusal to issue, reactivate, reinstate, renew, or suspend a license
    15
          in this section for licenses under the jurisdiction of the California Supreme Court.
    16

    17
                Pursuant to Public Contract Code(PCC)§ 10295.4. "(a) Notwithstanding any ~
    18
          other law, a state agency shall not enter into any contract for the acquisition of goods
    19
          or services with a contractor whose name appears on either list of the 500 largest tax
    20
          delinquencies pursuant to Section 7063 or 19195 of the Revenue and Taxation Code.
    21
          Any contract entered into in violation of this subdivision is void and unenforceable."
    22
         (b) This section shall apply to any contract executed on or after July 1, 2012.(accessed
    23

    24
          httn://le~info.le~islature.ca.~ov/faces/codes disnlavSection.xhtml?lawCode=PCC&se

    25 ctionNum=10295.4.)

    26
                                                     -o-
    27    AMICUS CURIAE BRIEFING IN OPPOSITION TO ROLAND C. COLTON APPLICATION FOR LEAD CLASS
                                                 COUNSEL
    28
Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 51 of 116 Page ID #:1435




     1         Pursuant to Bus. and Profess. Code §§ 494.5(a)(1)(2) Mr. Colton's name being
     2 included on the"500 Delinquent Tax Payers" then authorizes the Department ofMotor

     3 Vehicles to suspend a license ifa licensee's name is included in the certified list. Hence,

     4
         Mr. Colton who has been driving regularly maybe doing so without a valid driver's
     5
         license and should be further investigated.
     6

     7         Pursuant to B&P Code §494.5(q)(1) The Bar is authorized to proceed with

     8 suspending a member whose names appears on the certified delinquency list. "This

     9 subdivision may not be interpreted to prevent the State Bar of California from filing a

    10 request with the Supreme Court of California to suspend a member of the bar

    11   pursuant to this section."
    12
               Moreover, since B&P Code §494.5(q)(3) states the following, it is confirmed
    13

    14 that Colton is currently in violation of Section 7063 or 19195 of the Revenue and

    15 Taxation Code and is currently listed on the "SOO largest tax delinquencies". Hence as

    16 stated in "(3) Upon release from the certified list, the suspension or revocation of the

    17 applicant's or licensee's license shall be purged from the state governmental

    18 licensing entity's Internet Web site or other publication within three business

    19 days. This paragraph shall not apply to the State Bar of California", authorizes the

    20 judicial notice of the State of California's taxation records as correct and current.

    21

    22
           CONCLUSION

    23
           We respectfully request that the Court perform a simple, organic Google search for
    24
         terms "Roland Colton, attorney" and ascertain in less than 2 minutes, that not only
    25
                                                                                               is
    26
                                                  - 9-
    27   AMICUS CURIAE BRIEFING IN OPPOSITION TO ROLAND C. COLTON APPLICATION FOR LEAD CLASS
                                                COUNSEL
    28
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     1   Roland C. Colton unfit as lead class counsel, but likely also unfit as counsel in general
     2 before this Court.

     3
           Moreover, it is more likely than not that Colton's Bar license will reasonably soon
     4

     5 be
          appropriately restrained as authorized by and pursuant to Bus. and Professions Code

     6 § Code §494.5 (a)(3)"Suspension and Revocation of Licenses."
     7
           Based on the aforementioned facts, the Court is urged in the strongest terms that
     8
         appointment of Roland Colton as lead class counsel is not in the interests of the class
     9
         nor the public.
    10

    11     DATE: January 25, 2019
    12
                                                                /S/ N. Alai
    13
                                                                Nili Alai
    14

    15

    16

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    27   AMICUS CURIAE BRIEFING IN OPPOSITION TO ROLAND C. COLTON APPLICATION FOR LEAD CLASS
                                                COUNSEL
    28
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     1                DECLARATION IN SUPPORT OF AMICUS BRIEF
     2

     3       1. I am not a party to this action and am able to testify to these same facts if
     4          asked to do so. I file the herewith brief and declaration in good faith, and
     5          not for any improper purpose.
     6       2. I am aware of these facts based on my knowledge, and through admissions
     7          made by Roland Colton to me. I have known Colton in a personal and
     8          professional capacity for more than 10 years.
     9       3. I am informed that on August 10, 2017 Colton began representing a Plaintiff
    10          in the referenced case Nordstrom HauteLook Class Action. I am also aware

    11          that Colton is also involved in a similar lawsuit entitled Vandat Aghdasy v.

    12          Nordstrom Inc., et al., Case No. 2:16-CV-01829 in the U.S. District Court

    13          for the Central District of California.

    14      4. Attached hereto as Attachments "1" to "3" are true and correct copies of a

    15
                few representative Colton criminal convictions, federal court cases, and as
                well his Declaration submitted under oath in his criminal case United States
    16
                v. Roland Colton.
    17
             5. It is my opinion that Roland Colton is unfit as class counsel as to his
    18
                criminal convictions, habitual dishonesty, financial crimes, and career long
    19
                moral turpitude, and that he should not be so appointed.
    20
            6. It is my opinion that Colton's perpetual frauds on the people as well the
    21
                government, money laundering schemes to divert his funds to his French
    22
                chateau, failure to abide by taxation laws, and the like make Colton unfit to
    23
                have his license to practice law renewed.
    24
             7. Barring this Court's sua sponte referral to the Bar for the same, due to
    25
                Colton's demonstrable unlawful conduct, it is my intent to file a Writ
    26
                                                  - 1,-
    27   AMICUS CURIAE BRIEFING IN OPPOSITION TO ROLAND C. COLTON APPLICATION FOR LEAD CLASS
                                                COUNSEL
    28
Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 54 of 116 Page ID #:1438




     1          of Mandamus and other applicable pleading for the State Bar to
     2          expedite suspension and/ or disbarment of Colton pursuant to Bus. and
     3          Professions Code §494.5 "Suspension and Revocation of Licenses",
     4          and aggravated conduct by Colton.
     5

     6
                                                          ,~,~, .,
     7          January 25, 2019
     8                                                    Nili Alai

     9

    10

    11

    12

    13

    14

    15

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    27   AMICUS CURIAE BRIEFING IN OPPOSITION TO ROLAND C. COLTON APPLICATION FOR LEAD CLASS
                                                COUNSEL
    28
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     1                       PROOF OF ELECTRONIC SERVICE
     2
       I am not party to this action and am over the age of 18. My business address is 14
     3 Monarch Bay Plaza Ste 383, Dana Point, California 92629. ON the aforementioned

     4
       date I served the document entitled "Amicus Curiae Brief and Exhibits" on these
       parties. I utilized an electronic account with Onelegal or equivalent source to
     5 transmit these documents to the following parties.

     6
         ~ INTERESTED PARTIES
     7

     8
         FOR PLAINTIFF BRUNILDA STEPHENS
     9   Roland C. Colton, Esq., SBN 79896
    10   COLTON LAW GROUP
         28202 Cabot Road
    11   Third Floor
    12   Laguna Niguel, CA. 92677
         Telephone:(949)365-5660
    13   Facsimile:(949)365-5662
    14   Email: rcc7@msn.com

    15 Alexander Escandari, Esq. SBN 183781

    16 L.A. TRIAL LAWYERS,INC.
         8730 Wilshire Boulevard
    17 Fifth Floor

    18 Beverly Hills, CA. 90211
         Telephone:(310)492-2000
    19 Facsimile:(310)492-2001

    20
       FOR DEFENDANTS NORDSTROM ET AL.
    21 Shauna Pearce, Esq.
    22 Dana J Dunwoody
       Sheppard Mulling Richter And Hampton LLP
    23 spearce@sheppardmullin.com

    24
         FOR CLAIMANT CALIFORNIA FRANCHISE TAX BOARD
    25
         Todd Murray Bailey
    26
                                                  -13-
    27   AMICUS CURIAE BRIEFING IN OPPOSITION TO ROLAND C. COLTON APPLICATION FOR LEAD CLASS
                                                COUNSEL
    28
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     1   California Franchise Tax Board
     2   State of California
         P O Box 1720, Mailstop A-260
     3
         Rancho Cordova, CA 95741-1720
     4   916-845-6340
     5   Email: todd.bailey@ftb.ca.gov
         LEAD ATTORNEY, ATTORNEY TO BE NOTICED
     6
     7

     8 I declare under penalty of perjury of the State of California that the aforementioned is
         true and correct.
     9
                                                                   /!Y / l T ♦ 1

    1O
         ~ DATE: January 25, 2019

    11                                                            Nili Alai
    12

    13

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                                                   - 14-
    27    AMICUS CURIAE BRIEFING IN OPPOSITION TO ROLAND C. COLTON APPLICATION FOR LEAD CLASS
                                                 COUNSEL
    28
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       C~se 3:06-cr-02252        Document 18-2 Filed 01/08/08 ~ ~.~eID.36 Page 1 of 7


       1                           AFFIDAVIT OF ROLAND C. COLTON
       2
       3          I,Roland C. Colton, declare as follows:
       4          1.     I am the defendant named in the within indictment. I have personal

       5   knowledge of the facts set forth in this declaration and, if called and sworn as a witness, I
       6   would be competent to testify to such facts.
       7          2.     I have been an attorney licensed to practice law in the State of California
       8 since June 28, 1978. I operated as a sole practitioner for many years before forming the
       9 law partnership of Colton & Roesser in 1991. My practice was based in San Diego
      10   County unti12005, when I moved my offices to Orange County. I married my present
      11   wife, Dr. Nahid Birjandi("Dr. Birjandi"), on June 18, 1999, and have resided with her
      12 since that tune in her Laguna Niguel residence.
      13          3.     On October 11, 2001,I filed Chapter 7 bankruptcy in the Southern Districi
      14 of California. The Trustee appointed to the case was Richard Kipperman ("Trustee"),
      15   represented by the law firm ofPyle, Sims, Duncan &Stevenson.
      16          4.     On December 11, 2001, the Trustee's counsel sent me a letter demanding

      17 ~, that the law firm of Colton & Roesser be dissolved, that all assets ofthe partnership be
      18   sold, and that any surplus be paid over to the Trustee. In December, 2001, the Trustee's
      19 counsel also sent me a letter seeking to terminate the lease where the law fine was
      20 conducting business in Del Mar, California.
      21          5.     The first session of my Rule 2004 bankruptcy examination took place one

      22 month later, on January 15, 2002. During this examination, I answered questions about
                                                           _ _     __
      23 my finances, my wife's finances, and financial payments that I had made to my wife to
      24 ~ assist her in making mortgage payments on her residence. During the deposition, the
      25   Trustee's attorney, Peter Duncan, indicated to me and my counsel,"offthe record", that
      26 the Trustee might take legal action against my wife, in view oftestimony that I had
      27 provided her financial assistance. I then advised Mr. Duncan that I had not notified my
      28   wife of my bankruptcy, and requested that I be given notice before any legal action was

                                                            1
                                               Affidavit of Roland C. Colton
                                                                                          0016
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       Case 3:06-cr-0225         Document 18-2 Filed 01/08/08 ~ _.~eID.37 Page 2 of 7


       1   taken against my wife so that I could discuss it with her first to minimize the shock and
       2 einbai-rassinent to her and her family and the potential disruption to my marriage that was
       3   likely to result; Mr. Duncan gave his word to me and my attorney that he would do so.
       4         6.      Shortly thereafter, on January 30,2002, without any advance notice, the

       5   Trustee filed a lawsuit against my wife, Dr. Birjandi, seeking to force the sale of her
       6 residence and pay over the proceeds to the Trustee. A lis pendens was also recorded
       7 simultaneously against my wife's Orange County residence. The lawsuit also sought to
       8 force the turnover ofDr. Birjandi's podiatric practice, a practice to which, as I had
           testified, I had never given any financial support. The lawsuit and lis pendens were

     `10   served on my wife's parents (temporary guests ai the residence), who then shared the
      11   docwnents with my wife. She was in hysterics when she confronted ine with the legal
      12 action. To add to the stress, my wife and I had discovered only days earlier that she was
      13   pregnant with our first child.

      14          7.     Mr. Duncan later tried to justify his action by explaining that my wife had

      15   dual citizenship and might flee the jurisdiction. Mr. Duncan's actions resulted in a

      16 complete breakdown of trust between myself and the Trustee, greatly escalating the
      17   acrimonious litigation between the parties. His unethical behavior continued as he

      18   violated bankruptcy rules and protective orders entered into in my case.
      19          8.     As hostilities increased, counsel for the Trustee threatened to file lawsuits

      20   against my adult children —Jessica(age 26), Kimberly (age 24), Michael(age 21)and

      21   Christopher (age 19) — for whom I had provided post-high school financial assistance

      22   with respect to tuition, housing and support payments during prior years. At the same

      23   time, the Trustee also threatened litigation against my law partner and law firm.

      24          9.     Faced with staggering legal fees in defending the banlcru~tcy litigation and

      25   adversary proceedings, along with the prospects offuture legal action against my

      26   children, my law partner and law firm, my attorney suggested moving for dismissal of the

      27   bankruptcy petition. It was clear that I would never be able to obtain the flesh start that I
      28   had sought, and that the personal and financial cost of litigating ir►ulti-front actions with

                                                            2
                                               Affidavit of Roland C. Colton
                                                                                          0017
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       1    the Trustee had become extremely burdensome, threatening my marriage, my children,

       2    and my business relationships.

       3           10.    In the midst of mounting litigation, my attorney approached the Trustee

       4    about stipulating to a dismissal of my bankruptcy petition, wherein I would receive no

       5    discharge of my debts. The Trustee responded in writing, on May 21, 2002, stating that

       6    ifI paid a $500,000 penally and stipulated to a denial of discharge, that the Trustee would

       7    agree to the stipulation. I rejected the offer.

       8           11.    Rebuffed by my rejection of the penalty payment, the Trustee raised the

       9    stakes even higher. On June 14, 2002, making good on his threat, the Trustee tiled an

       10   adversary action against my law partner and my law firm, attempting to Force the law

       11   firm's dissolution and to recover from my partner one-half of all draws that had been paid

       12 to ine since the filing of the petition, and seeking a termination of the partnership's lease.

       13          12.     On July 1, 2002, I filed a motion to dismiss his bankruptcy petition.

       14   Although the Trustee previously had been willing to stipulate to a dismissal(upon

       15   payment of a substantial penalty), the Trustee now vigorously opposed the motion, and

       16 the motion was denied. The Trustee then went into full throttle against ine and other

       17   parties in the various adversary proceedings.

       18          13.     During the pendency ofthe bankruptcy, with the assistance of counsel, I

       19   was preparing amendments to my bankruptcy schedules to address any potential

       20   omissions and inaccuracies contained therein. The process of completing the

       21   amendments was frequently diverted due to the constant barrage of motions, subpoenas

       22 and other discovery matters coming from the Trustee that had to be responded to. In
        _- _ --- -
       23 addition, my time was further compromised by the birth of my daughter on October 10,

       24   2002. But for the onset ofsettlement discussions less than two weeks later, the

       25   amendments would have been completed, and would have addressed the allegations

       26   contained within the September 30,2002 motion discussed below.

       27           14.    On September 30, 2002, the Trustee filed an ex parte motion for a

       28   temporary injunction (without notice), alleging that I had concealed assets and business

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                                                 Affidavit of Roland C. Colton
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       1    interests (including certain property located in France). At the unopposed ex pane

       2 hearing on October 15, 2002, the court granted the TRO. On October 17, 2002, my

       3    attorney and I were served with a copy ofthe motion and TRO,indicating a preliminary

       4    injunction hearing set for October 25, 2002just eight days later.

       5           15.    On October 22, 2002, my attorney advised me that he had been told by

       6    counsel for the Trustee, Susan Stevenson, that I "had better settle the case quickly ifI

       7    wanted to avoid future criminal action." I perceived the comment to be borderline

       8    extortion and asked Mr. Cunt'to note the conversation in my file. I tools very seriously

            the implications of having to defend not only the multi-front civil litigation, but also

      10    criminal proceedings in the future.

      11           16.    Mr. Curry advised ine that it would be in my best interests to settle the case

      12    quickly in order to avoid criminal action. As a result, settlement discussions ensued

      13    rapidly. During the course of the discussions, Mr. Curry made efforts to move the
      14    discussions along as quickly as possible, at times telling me that I might be sacrificing
      15    certain benefits by doing so. For example, he believed that we could have negotiated a
      16    lower financial obligation with the Trustee, given some additional time. Foremost in my
      17 ~ mind was that we meet the Trustee's demand ofreaching a prompt settlement before

       18   criminal action was commenced.
       19          17.     Forsaking the prior $500,000 penalty offer, the Trustee felt he had leverage
      20 ~ ~ to ask for much more than before. Over the course of the next few days, I ultimately

      21    committed to paying the Trustee a penalty of up to $1,150,000,' plus agreed to pay an
      22    additional $1,000,000 penalty in the event that I defaulted on the settlement agreement.
      23    The Trustee also insisted that I not receive a discharge as part ofthe settlement. Under no
      24 ~~ circumstances would I have agreed to such excessive financial penalty and forfeited my

      25    right to a discharge of debts, if I had not understood that the settlement wrapped up all
      26

       27
                     I call the $1,150,000 figure a penalty because only a small fraction ofthe money would be
       28   used to pay creditors. The lion's share ofthe money was to be paid to the Trustee, his attorneys and
            experts, thus resulting in a minimal pay-down of debt with no discharge of bankruptcy.
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                                                  Affidavit of Roland C. Colton
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Case 2:17-cv-05872-DSF-KS Document 66 Filed 03/18/19 Page 62 of 116 Page ID #:1446
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       1   aspects of my case, including any potential criminal action.

       2           18.   In negotiating and drafting the settlement agreements, Mr. Curry advised

       3   me on several occasions that he was taking care to include language as strong as possible

       4 to make it clear that the settlement would encompass any potential criminal action as

       5   well.

       6           19.   Mr. Curry also told me that, since the threat of criminal action was gone

       7   with the settlement, there would be no need to file any opposition or reply papers to the

       8 i Motion. He further indicated to me that there would be no need to complete the

       9   ainendinents to my bankruptcy schedules.

      10           20.   I also had discussions with my wife about moving quickly on the

      11   settlement. With our newborn child less than two weeks old, I reluctantly shared with my

      12   wife the veiled threat of criminal action if I did not act quicltly to settle the case. My wiFe

      13   was horrified about this possibility and told me that I needed to do whatever it took to

      14 resolve the bankruptcy case immediately.

      15           21.   My wife told ine that if we were assured that there would be no cruninal

      16   action taken against me that she would assist ine financially with the settlement.. As a

      17   result, she agreed to refinance her residence and allowed approximately $280,000 ofthe

      18   refinance funds to be used to pay the Trustee in connection with my settlement.

      19           22.   Despite that the settlement involved a huge financial toll for my family, my

      20    wife and I attempted to put the past behind us and get on with our lives. Convinced that

      21   there would not be a criminal action, we decided to have another child. A second

      22    daughter was born to us on March 8, 2005. Neither my wife nor I would have considered

      23    bringing another child into the world if we had believed that I would be facing an

      24 ~ indictment with a risk of years of imprisorunent. I was particularly sensitive to the

      25    anxiety and panic attacks that my wife had experienced during the pendency ofthe

      26    adversary proceeding against her in 2002. Words cannot describe the incalculable dread

      27    and shock that we both experienced when we learned of the pending indictment on

      28    November 8, 2005, when Special Agent John Hause approached me at my home and

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                                                Affidavit of Rola~~d C. Colton
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       1    advised ine that I was a target of a federal grand jury criminal proceedings.

       2           23.    I was counsel-of-record in the civil case ofInsurance Ventures, Inc. v.

       3    Yesta Fire Ins. Co. et al., Sacramento Superior Court Case No. 04AS00268, which was

       4    filed in January of 2004. Insurance Ventures was seeking to recover $30,000,000 in

       5    damages from the Vesta Fire Insurance Company ("Vesta"). Shortly after Insurance

       6    Ventures filed its lawsuit, Vesta Filed a retaliatory action agaiizst Insurance Ventures, all

       7    of its officers and attorneys (including myselfl, in federal court in Sacramento (Case No.

       8    5-04-0296 FCD PAN.) Vesta was represented in both cases by John (Jack)Pierce of

       9    Barger & Wolen. Both cases were aggressively litigated, and my deposition was taken in

      10 the federal court action in September of2005 by Jack Pierce.

      11           24.    During the course of my civil deposition, Mr. Pierce went to great lengths

      12    examining ine on my bankruptcy schedules, including an intensive examination about

      13    ownership of property in France, my wife's purchase of her residence, the major areas of

      14    focus ofthe criminal investigation. At that tune, I had no knowledge that there was any

      15    criminal investigation, nor was I aware of any possible future indictment. In fact, I took

       16   comfort in the fact that any potential criminal exposure on the bankruptcy case was long

       17   since past.

       18          25.    IfI had known that there was an ongoing criminal investigation, I would

       19   have had the opportunity to discuss with counsel the merits ofinvoking the Fifth

      20    Amendment against self-incrimination during the deposition. I had no reason to believe,

      21    at that late date (especially with the promise of the Trustee's counsel not to pursue

      22    criminal action) that there was any possiUility of a criminal investigation, and therefore

      23    did not consider involving the privilege.

      24           26.     During the course ofreviewing discovery fioin the goveniinent, I

      25    subsequently leaxned that Mr. Pierce had been in contact with the goverrunent and was

       26   aware ofthe criminal investigation months before I was, and prior to my civil deposition

       27 in the Insurance Ventures case.

       28          27.     During the course ofreviewing discovery from the government, I also

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                                                 Affidavit of Roland C. Colton
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         1     learned that the cri~zn,inal investigation commenced in t]r~E sLwnrnehr of2002, while niy
         2 ba~~Cruptcy case was pending, something tl~,at I was not aware of before. I further
         3 observed, 1~7. ~40king t11x'OUgh the t~i5COvery, that: tb~ez~ was no action take~a in the czianinal
         4 investigation following xhe "global s~ttl~ment" until I had rnad~ all but tl~e final payment

         5 ~ oz~ my settlement.
         b             28.   ~e shame and humiliation that has aacompa~ied the ind~ctmetit is
         7 incalculable. I~ a person tykes ire my name under "Google",the in.dic~znent is front aaad
         8 center, along with the next sev~ra~ xe#'erences as will. Mai~ai~ing a law practice with the
         9 indictment hanging over my head has been extremely d~~icul~. Phone interviews with
         10 pot~~nti~t clients, who have expressed a saong interest in retaining my services, often
         11 do~.'t call back. Ifa meeting dots ensue,I then feel compelled to disclose th~'undictment
         12 and potential impact om zny ability to perform legal services wb~iich, under~andably, often
         a3    leads to s loss ofi'the business.
         l4            29.    Because people are so quick to check you vut these days,I am very leery
         ~5    about giving out my full name oz pro~sion in making new arquaintanceg, such as
         1.6   meeting parents of my daughters' fri~~.s at school activities or birthday parties.
         17            30.    1VIy wife comes from a vexy pz~oud family. Her father is a p~an~ainent
         18    businessman in Iran who frequently visits t ae U.S. along with his wife. Many of~x~.y
         19    wife's rel.atxves xeside in Qxange County. My wife prefers that news o~u~y indictment no.
        20 be publicized among hoer family. As a result, she lives in fear that family members will
        21     check us out on the intennet, aad that they will discover the indictrnent, leacl~ng to further
        22 shame and eznbanassment.
        23             I declare under penalty of perjury that t eforegoing is tote a~a.d co~ect a~~ #hat tk~_is
        24     declaration was executed on the          day of                       2008 at Caguas Niguel,
        2.5 II California,
        26
        27
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                                                    Affidavit of RolRnd C. Colton

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  DEFENDANT: ROLAND C COLTON(1)                                                             ~
  CASE NUMBER:06GR22S2-W

                                                         RESTITUTION
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      3     VALERIE H. CHU
            California State Bar No. 241709
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            Fax:(619)557-7055
      7     Email: Eric.Beste@usdoj.gov,
            Valerie.Chu@usdoj.gov
      8
        Attorneys for Plaintiff
      9 United States of America
      10                                 UNITED STATES DISTRICT COURT
      11                               SOUTHERN DISTRICT OF CALIFORNIA
      12 UNITED STATES OF AMERICA,                               Criminal Case No.06CR2252-W
      13                         Plaintiff,                      GOVERNMENT'S TRIAL MEMORANDUM
      14          v.                                         DATE:             January 2l,2009
                                                             TIME:             9:00 a.m.
      15                                                     CTRM:             7(3rd Floor)
            ROLAND C. COLTON,                              ) NDGE:             Honorable Thomas J. Whelan
      16
                                 Defendant.                )
      17
      18          COMES NOW the plaintiff, iJNITED STATES OF AMERICA, by and through its counsel,
      19 Karen P. Hewitt, United States Attorney, and Eric J. Beste and Valerie H. Chu, Assistant U.S.
     20 Attorneys, and hereby files its Trial Memorandum.
     21                                                      I
     22                                         STATUS OF THE CASE
     23           A.     INDICTMENT
     24           On October 17, 2006, a Federal Grand Jury in the Southern District of California returned a
     25 seven-count indictment against defendant Roland C. Colton("Colton")charging him with bankruptcy 'I
     26 fraud, in violation of various provisions of]8 U.S.C. § 152. Count l alleges that Colton falsely stated
     27 under penalty ofperjury in his bankruptcy petition and accompanying schedules that he had no interest
     28 in real property and personal property, although he in fact did have interests in real property located in


                                                                                                        06CR2252-W

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       1   France and Laguna Niguel, California, and in over $1.5 million in personal property such as bank and
       2 brokerage accounts, in violation of 18 U.S.C. § 152(3). Counts 2,3 and 4 allege that Colton gave false

       3 testimony under oath in examinations taken pursuant to Fed. R. Bank. P. 2004 ("Rule 2004
      4 examination"),in violation of 18 U.S.C. § 152(2). Count 2 concerns Colton's false claim in his January
       5 ~ 15,2002 examination that his schedules were correct and that they accurately identified all ofhis assets
      6 and liabilities. Count 3 concerns Colton's false claim that he maintained no other bank accounts. Count
       7 4 concerns Colton's false assertion that he had not contributed anything towards the purchase of his

       8 Laguna Niguel estate. Count 5 alleges that Colton gave false testimony under oath in his Rule 2004
      9 ' examination on August 14, 2002, when he testified that he paid $85.86 in foreign taxes in 2000. Count
      10~ 6 alleges that Colton knowingly and fraudulently concealed real and personal property in France
      11   belonging to the debtor's estate from creditors and the bankruptcy trustee, in violation of 18 U.S.C.
      12 § 152(1). Count 7 alleges that Colton knowingly and fraudulently concealed ownership, control and
      13 possession of numerous financial accounts belonging to the debtor's estate from creditors and the
      14 bankruptcy trustee, in violation of 18 U.S.C. § 152(1).
      15          B.      JURY TRIAL
      16          This case is presently set for trial on January 21, 2009. No jury waiver has been filed.
      17          C.      STATUS OF COUNSEL
      18          Colton is proceeding pro se. At the last status hearing on December 11,2008,Defendant moved
      19 to represent himself. The parties appeared that day before Magistrate Judge Bencivengo, and after
     20 conducting a Faretta hearing, Judge Bencivengo relieved retained counsel Jeremy Warren and granted
     21 ~ Colton's motion to represent himself. Colton appeared before this Court later that day, and confirmed ~
     22 his awareness of the trial date. No standby counsel has been appointed.
     23           D.      CUSTODIAL STATUS
     24           Colton is out of custody on a $50,000 personal appearance bond.
     25           E.      INTERPRETER
     26           The government may need aFrench-English interpreter for several witnesses during its case-in-
     27 chief or in rebuttal.
     28

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       1          F.      LENGTH OF TRIAL

       2          At the status hearing on August 18, 2008, parties jointly estimated that the trial would occupy

       3   approximately 2 weeks. Since then, Colton has released his counsel and decided to proceed pro se. At

      4 the status hearing on December 11, 2008, Colton indicated that he intended to file motions that he

       5   expected would reduce the length of trial. At this time, the government believes this trial will be

      6 ~ ~ completed in 2 weeks.

       7          G.      COURTROOM COMPUTER SYSTEM

       8          The government will be using acomputer-based evidence presentation system including

       9 individual monitors located at the bench,the witness stand,and at counsel tables for the government and

      10 the defense.

      11          H.      DISCOVERY

      12          The United States has complied with its discovery obligations, including again making

      13 ~ documents available for Colton's inspection which his previous counsel had already seen. Colton has

      14 not produced any reciprocal discovery, and the government will object to the introduction of any

      15   documents by Colton which have not been produced in discovery at this time.

      16          I.      PRE-TRIAL MOTIONS

      17          On January 6, 2009, the government filed motions in limine to: (1) preclude allegations of

      18 government misconduct;(2)preclude pro se defendant from presenting evidence in his role as attorney;

      19 (3)admit the expert testimony oftrial counsel for the U.S. Bankruptcy Trustee;(4)preclude self-serving

     20 hearsay;(5)admit defendant's statements to his bankruptcy attorney made for the purpose of filing his

     21    bankruptcy petition;(6)admit evidence ofNahid Birjandi's 1994 bankruptcy filing;(7)admit evidence

     22 of Colton's prior tax conviction pursuant to Fed. R. Evid. 609 should he testify;(8)preclude defense

     23 exhibits not produced in reciprocal discovery;(9)use trial exhibits in opening statement;(10)exclude

     24    witnesses other than the case agents; and (11) order reciprocal discovery.

     25           Colton has not filed any motions in limine.

     26           Consistent with the Court's chambers rules, motions in limine are scheduled to be heard on the ~

     27    morning of trial, January 21, 2009.

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       1          J.     EXHIBITS
      2           By January 15, 2009, the government will make available to Colton a preliminary exhibit list
       3 and a set of pre-marked e~ibits. The government will provide an updated list to the Court and to
      4 defense counsel on the morning of trial. The government's exhibit list will be updated during trial to
       5 reflect additional exhibits that the government finds it necessary to introduce.
      6           K.     JURY INSTRUCTIONS
       7          The government's proposed jury instructions will be submitted under separate cover.
      8                                                     II
      9                                        STATEMENT OF FACTS
     10           A.     THE DEFENDANT
     11           Colton, a seasoned trial attorney, graduated from the University of Utah with a degree in
     12 accounting,and obtained his law degree from the University ofSan Diego. Before his admission to the
      13 California bar in 1978, Colton was a practicing accountant. At all times material to the indictment,
     14 Colton was a partner in the Del Mar law firm of Colton & Roesser.
      15          Since 1998, Colton has resided in a $2.375 million estate in Laguna Niguel, California, with his
     16 current wife, Nahid Birjandi, a podiatrist. Colton vacations regularly in France, where he typically

     17 spends 2-3 months every summer. For example case, during the pendency ofthis case Colton's bond
     18 was modified to permit him to travel to France for vacation. While in France Colton stays at his
      19 ~ vacation home,known as Chateau de la Briche.
     20           B.     COLTON'S BANKRUPTCY CASE
     21                   1.     Colton's Filings
     22           On October 11,2001,defendant electronically filed a voluntary Chapter 7 bankruptcy liquidation
     23 petition ("Petition") and attached schedules with the United States Bankruptcy Court for the Southern
     24 District ofCalifornia, seeking a discharge ofsome $2.7 million in debts, and attached schedules. These
     25 schedules included:(1)a summary ofassets and liabilities;(2)specific lists of assets and liabilities;(3)
     26 schedules of income and expenses;(4) schedules of exempt assets; and (5) a statement of financial
     27 affairs("Schedules"). Colton electronically signed, and later manually signed, a certification attesting
     28

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       1 ~ to the truth, completeness and accuracy of the statements contained in the Petition and Schedules.
       2 ~ Colton signed both of these certifications under penalty of perjury.

       3          In the Petition and Schedules, Colton falsely claimed only $15,650 in assets, consisting of$100
       4 in cash,a Washington Mutual checking account worth $200,a television, a computer,a grand piano and
       5 his interest in his law partnership, Colton & Roesser, which he valued at $10,000. He claimed that he
      6 no "any legal, equitable, or future interest' in any real property,"including [any] property owned as a
       7 co-tenant, community property, or in which the debtor has a life estate." Defendant also denied that

       8 there was any real property in which he held rights and powers exercisable for his own benefit. Colton
      9 claimed he had no interest in any other personal property, including any automobiles, other businesses,
      10 investment accounts, retirement plans, or insurance policies.
      11          Colton also claimed that during the prior year he had not made any payments to creditors who
      12 were insiders, had not given gifts, had not incurred gambling losses, had not executed any property I
      13 transfers, and had not closed any financial accounts. He claimed his monthly income was $6,533, and
      14 that he and his family had monthly expenses of $7,119 (including $2,500 in "rent or home mortgage
      15 payment'). Defendant's claimed liabilities consisted of large California Franchise Tax Board
      16 assessments, courtjudgments, and credit card debts.

      17          On October 11,2001,the United States Bankruptcy Court for the Southern District ofCalifornia
      18 appointed Richard Kipperman ("Trustee Kipperman") as a private Chapter 7 bankruptcy trustee.
      19 Trustee Kipperman was obligated to identify, and then recover and distribute, assets that were to be for
     20 the benefit of the debtor's estate. Trustee Kipperman retained bankruptcy counsel, Peter Duncan and
     21    Susan Stevenson, to assist in this task.
     22                   2.      Colton's Statements Under Oath
     23           On January 21, 2002, Duncan conducted a Rule 2004 examination, under oath, of Colton.
     24 During that examination, Duncan asked Colton the following questions:
     25
     26           Q:      Are there any changes to the [bankruptcy] schedules of which you are presently aware?
                  A:      I think the one my attorney referred to we need to make.
     27           Q:      Any other changes?
                  A:      Not that I can think of.
     28

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       1          Q:      Soother than amending the schedules to add the Chevron royalty interest, the schedules
                          are true and correct to your knowledge?
      2           A:      I think so.
                  Q:      And they accurately identify all of your assets and liabilities other than the Chevron
      3                   royalty?
                  A:      Yes.
      4
                  At the same session, Duncan asked Defendant about the check register, copies of bank
      5
           statements, and copies of checks for the single Washington Mutual account listed on his Petition.
      6
           Specifically, Duncan asked:
      7
                  Q:      All right. Sir, we are looking at Exhibit 4, which is your register and statements and
      8                   checks, and the question pending was are there any other statements or checks of which
                          you are aware that are not in Exhibit 4 for the period?
      9           A:      Not to my knowledge.
                  Q:      Okay. Is this the only bank account you maintained personally during the period that is
      10                  reflected in Exhibit 4?
                  A:      I believe so.
      11          Q:      Okay. Any record that would refresh your recollection to the contrary?
                  A:      I can't think of anything.
      12
                  Duncan also questioned Defendant closely regarding a residence located in Laguna Niguel,
      13
           California. Colton's wife (Nahid Birjandi) was listed on the title as the owner of the property, but
      14
           Duncan wanted to know ifColton helped pay any ofthe $2.375 million purchase price,thereby resulting
      15
           in Colton(and his bankruptcy estate)having at least an equitable interest in the property. Duncan asked:
      16
                  Q:      Did you contribute anything towards the down payment of the property?
      17          A:      No.
      18          Counsel for Trustee Kipperman conducted further investigation into these and other facts in
     ]9 order to determine whether assets of the estate were available to satisfy creditor claims. This
     20 investigation led Trustee Kipperman to file separate adversary proceedings against:(1)Colton,his law
     21    partner Roesser, and their partnership to recover the debtor's interest in additional income from the
     22 partnership; and (2) Colton's wife (Dr. Nahid Birjandi) to recover the debtor's community property
     23 interest in their multi-million dollar home.
     24           Colton's Rule 2004 examination did not conclude on January 15, 2002, but continued on two
     25 other occasions. In the follow-up session held on August 14, 2002, Duncan's law partner Susan
     26 Stevenson asked Colton about a deduction he claimed in his 2000 federal income tax return for $8,685
     27 paid in foreign taxes. By this time, Trustee Kipperman had learned that Colton may have had an interest
     28 in real estate known as Chateau de la Briche located in Hommes,France. Colton had claimed attorney-

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           client privilege in response to questions by Stevenson as to whether Colton had visited Chateau de la
       2 Briche, and in what town Chateau de la Briche was located. Coming at it from another direction,

       3 Stevenson attempted to clarify the reason Colton paid $8,586 in foreign taxes, as claimed on his tax
       4 return:
       5           Q:     Do you know if you paid any foreign taxes in 2001?
                   A:     I don't believe so.
      6            Q:     Because I see in 2000 you paid — I don't know, it seems to me like a lot offoreign taxes
                          — about $8500, $8600. Do you know what government or country they were paid to?
       7           A:     I think thaYs inaccurate.
                   Q:     Is your tax return inaccurate or is my characterization of Exhibit A to the tax return
       8                  [which includes the line-item for foreign taxes]
                   A:     I believe the amount paid was not accurate as indicated on the tax return.
       9           Q:     So you're saying ifI look at the tax return I'm going to find a statement that eighty-five,
                          eighty-six in foreign taxes is inaccurate?
      10           A:      Well, this came up during the previous 2004 examination. And when I looked at the
                          information that I transmitted to [Colton's tax preparer] Mr. Hatch,I think it was $85.86
      11                  or whatever the number is.
                                                             ***
      12           Q:     Okay. Here we have Exhibit A,itemized deductions to your 2000 return with the
                          eighty-five, eight-six amount. Is that what you're saying is inaccurate, it should be
      13                  $85.86?
                   A:     That's correct.
      14
      15           Trustee Kipperman eventually obtained proofthat Colton was in fact the owner of the Chateau
      16 in France, as well as of several brokerage and bank accounts, some of which he held in the names of
      17 shell companies(e.g., Sports Gaming,Inc., Southwest Drilling, etc.). Based on the evidence indicating
      18 that Colton had other assets available for the bankruptcy estate, and that he might dissipate those assets
      19 outside of the normal bankruptcy process, Trustee Kipperman obtained an ex parte order from the
     20 bankruptcy court restraining Colton's bank accounts and preventing him from selling or encumbering
     21    the Chateau and his Laguna Niguel home.
     22            C.     COLTON'S ACTUAL FINANCIAL CONDITION
     23            In contrast to the modest $15,650 in total assets Colton disclosed on his Petition, Colton actually
     24 had interests in millions of dollars worth ofreal and personal property in the U.S. and France, and had
     25 control over several accounts in the U.S. and in France through which hundreds ofthousands ofdollars

     26 flowed at his behest.
     27 //
     28 //

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       1                  1.     La ~n
                                    ~u      guel Residence
      2           In late 1998, Nahid Birjandi, then Colton's fiance, was looking for a new home for herself and
       3 her new husband. The couple settled on a newly-built custom home overlooking the Pacific Ocean,
      4 located on 59 Asilomar Road in Laguna Niguel, California. The seller agreed with Colton (who

       5 negotiated the transaction) to a purchase price of $2,375,000. Birjandi's claimed income of

      6 approximately $10,000 per year was nowhere near enough to make the monthly mortgage payments or

      7 cover the necessary expenses of the property. Thus, through a variety of complicated financial
       8 transactions and behind-the-scenes moves, Colton provided almost all the money Birjandi used to

      9 purchase the property and make the monthly mortgage payments.
      10          First, Colton obtained a $1,400,000 mortgage loan in Birjandi's name from Hawthorne Savings
      11   Bank. While Birjandi's name would be the only one on the note, Colton personally promised the bank
      12 that he would help make the payments. Colton told the loan officer that he did not want his name on
      13 the mortgage papers because he was going through a messy divorce, and did not want to be formally
      14 obligated on the loan. But Colton's assistance was necessary to obtain the loan, as Birjandi clearly
      15 could not qualify for the $1.4 million loan on her minimal income.
      16          Second, Colton secured a portion ofBirjandi's down payment by obtaining a $553,500 loan for

      1~   her from a second bank,Pioneer Citizens Bank of Nevada. Again,the note was in Birjandi's name, but

      1g   it was collateralized by a Certificate of Deposit(CD)in the amount of$553,000 posted by a company
      19 owned and controlled by Colton. Colton provided thousands ofdollars over the course ofthe next year

     20 to Birjandi for her to make the interest payments on this loan, and when the note was due Colton simply
     21    directed that the CD be liquidated and the funds used to pay off Birjandi's note.
     22           Third, Colton negotiated a second mortgage "take back" from the seller of the property in the
     23 amount of $329,000. Colton provided funds used by Birjandi to make the payments on this note, and
     24 even wire-transferred $189,718.84 from a brokerage account he controlled directly to the lender.
     25           After arranging for the purchase of59 Asilomar Road,Colton continued provided the funds for
     26 Birjandi to make the monthly mortgage payments on the couple's estate. Between March 1999 and

     27 March 2000,Colton directed Charles Schwab to transfer thousands ofdollars out ofa brokerage account
     28 he controlled —the account was in the name of"Sports Gaming," a Nevada corporation ofwhich he was
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       1   the President, Secretary, Treasurer, and Director — into a bank account owned by Birjandi. Colton
      2 regularly transferred in excess of the $12,000 per month needed by Birjandi to make the required

       3   mortgage payment.
      4           Colton was living at 59 Asilomar when he filed for bankruptcy in October 2001. But the
       5   property was identified nowhere on his Petition and Schedules. Instead, Colton listed his address on
      6 the Petition as his office in Del Mar where his law firm was located. When asked in his Rule 2004

       7 examinations about his interest in the property, Colton contended that he only paid his wife $2,500 per
       8 month in rent to live there.
      9                   2.      Chateau de la Briche
      10          In or about July 1999, Colton purchased Chateau de la Briche, a French castle located a few
      11   hours outside Paris, for over 7 million francs(over $1 million at the time). Built in 1870,the castle has
     12 5 stones and dozens ofrooms,including an entrance hall, library, billiards room,sitting room,drawing
      13 room, dining room, back staircase, kitchen, and eating area (and all that just on the first floor). The
     14 property also includes multiple outbuildings (e.g., horse tables, tack room, garage, barns, greenhouses,
      15 kennels, gardener's building and living quarters, etc.), a swimming pool, vineyards, water tower,
      16 orangery, pleasure gardens, a vegetable garden, woods, meadows and footpaths.

      1~          To finance the purchase, Colton applied for a loan from CaixaBank in Poitiers, France. In his
     1g    application and in various letters to bank officials, he presented a far different picture of his financial
     19 condition than that depicted in his Petition. In response to a bank officer's inquiries, Colton authored

     20 a letter with additional information about"my most significant investments," including:
     21           - a bank account at Home Savings of America, valued at $4,596.74;
     22           - a Charles Schwab brokerage account, valued at $1,087,714.44;
     23           - a $30,000 loan from a colleague;
     24           -his "residence: 59 Asilomar," with a purchase price of $2,375,000, a current value of
     25           $2,800,000, an outstanding loan amount of $1,100,000, and furnishings worth over $737,000;
     26           - a Young-Chang piano valued at $15,000, and a "Steinway (Concert Grand)" piano valued at

     27           $75,000; and
     28           -two cars: a Mercedes Benz valued at $20,000, and a Jaguar XJ 220 valued at $400,000.
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       1          On the CaixaBank formal loan application Colton listed himselfas the only borrower,and listed
       2 his residence as 59 Asilomar Road. He stated that his annual salary was between 3,000,000 to 6,000,000

       3 francs(approximately $475,000 and $950,000),and claimed that he owed approximately 900,000 Francs
      4 on a mortgage. Colton claimed to own many assets in his application, including his residence at 59

       5   Asilomar(valued at 17,000,000 Francs), his law firm (valued at 3,000,000 francs), and miscellaneous
      6 personal property, such as securities and vintage cars (valued at over 15,000,000 francs). Colton
       7 requested a long term loan in the amount of4,200,000 francs to purchase "Chateau de la Briche," which

      8 he described as a single family house to be used as his vacation home.
      9           Colton made clear to the bank that he was purchasing the Chateau as his own separate property,
      10 and not jointly with his wife, or for any other party. He wrote in a letter contained in his loan file:
      11          I hereby certify that all of the funds which will be used to purchase the Chateau de la
                  Briche come from funds that I had prior to marriage and which I have maintained
      12          separate since marriage. I further certify that all the funds which will be used to make
                  payments on the chateau will also come from the same separate funds. Accordingly,
      13          ownership of the chateau will be in my name alone, as my separate property.
      14 The sales contract lists the buyer of the property as "Mr. Roland Clark COLTON, Attorney." The
      15 contract lists the financing as a 4,200,000 Fr loan from CaixaBank,to be paid in 144 monthly payments
      16 of 37,231.05 Fr(5,674.84 Euros), and a 3,650,000 Fr down payment from Colton. The total purchase
      17 price of the Chateau was 7,850,000 Fr.
      18          French property records show that Colton paid property taxes,lodging taxes,and sanitation taxes
      19 for Chateau de la Briche from 2000 up until at least 2006. In the year 2000, his payment of French
     20 property and lodging taxes on the Chateau alone exceeded $6,000.
     21                   3.      French Financial Accounts
     22           Colton opened an account at CaixaBank on or about July 20, 1999,around the time he purchased
     23 the Chateau. Throughout 2001 this CaixaBank account remained open and active. Colton identified
     24 himself as the sole account holder and his listed his address as 59 Asilomar, although he later he gave
     25 his wife power of attorney on the account. During the years 1999,2000 and 2001, Colton periodically
     26 transferred thousands ofdollars into this account from a Charles Schwab account in the name of"Sports
     27 Gaming, Inc." Records from the CaixaBank account show monthly withdrawals in the amount ofthe
     28 mortgage Colton owed on the Chateau (37,231,05 Francs).

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       1          Throughout 2001,Colton also wrote checks on his CaixaBank account and deposited them into
       2 another account, held in his own name, at the French bank Credit Agricole. Colton opened the Credit

       3 Agricole account as a joint account with his wife, and listed his address on the application as "Chateau
      4 De La Brich." This Credit Agricole account was active in October 2001, when Colton filed for

       5   bankruptcy.
      6           Colton failed to disclose the existence of any of these foreign accounts in his Petition or
       7 Schedules, or the many transfers into and out of these accounts —some of which took place just a few

      8 days before he filed for bankruptcy.
      9                   4.      Domestic Financial Accounts
     10           Unlike his foreign accounts,which were in his own name,Colton created layers between himself
     11    and his domestic accounts. He controlled the Charles Schwab brokerage account described earlier
      12 (which he listed as one ofhis most significant assets in his letter to the French bank), although the name
      13 on the account was a company called Sports Gaming, Inc. Colton opened this account for Sports
     14 Gaming on February 12, 1999. Colton frequently transferred money out ofthis account by sending wire
     15 transfer instructions specifying the following:
     16           I am the sole authorized signer for the above-referenced account. Please accept this
                  document as wire instructions far transferring funds to the account indicated below. I
     17           realize that the funds are going to an account that is not in my name. Accordingly,
                  Sports Gaming,Inc. is giving up legal ownership to the funds that are being wired.
     18
     19~          Colton also controlled an account at Washington Mutual Bank in the name of "Southwest
     20 Drilling,Inc.," another company he incorporated. Expenditures on this bank account include debit-card
     21    payments for restaurants, hotels, and travel, including travel expenses incurred in France. Colton also
     22 concealed this account in his bankruptcy.
     23           Colton maintained another account in his own name at California Bank and Trust that he failed
     24 to disclose on his Petition and Schedules. Although the address on the account was Colton's business
     25    address, the transfers offunds out ofthe account show that it was used for Colton's personal expenses.
     26 For example,between October 2000 and April 2002, Colton transferred approximately $198,980 from
     27 this account to his CaixaBank account,and another $198,000 from this account to an E*Trade brokerage
     28 account in his name (which was also omitted from his Petition). In April 2002, only after being

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       1     questioned in detail about his finances during his Rule 2004 examination, did Colton change the name
       2 on this account from his own name to something called "JMK Family Trust."

       3                   4.      Other Assets Concealed by Colton
       4            Colon concealed from the bankruptcy court several other substantial assets that he owned and
       5 used for his benefit. He purchased a Peugeot automobile in France for over $20,000 in June 2000, and
       6 registered the car in his own name. In his 1999 loan application for the Chateau, he claimed to be the
       7 sole owner ofa Jaguar XJ220 sports car valued at approximately $400,000. When he was in California,

       8 Colton sometimes drove a BMW with the vanity licence plate "Briche." Yet on his Petition and
       9 schedule, Colton asserted that he owned no cars.
      10                                                     III
      11                                           LEGAL PRINCIPLES
      12            A.     ELEMENTS OF THE OFFENSES
      13                    1.     False Declaration, Certificate, Verification or Statement Under Penalty of
                                   Perjury(18 U.S.C. & 152(3)1
      14'~
                    Colton is charged in Count 1 with making a false declaration, verification, or statement on
      15
             his Petition and Schedules. To prove a violation of this statute, the government must show that:
      16
                    1.     On or about the date alleged in the indictment, the proceeding in
      17                   bankruptcy was in existence;
      18            2.     Defendant knowingly and fraudulently made, and caused to be made, a
                           false declaration, certification, verification or statement in that
      19                   bankruptcy proceeding or in relation to that banl~uptcy proceeding;
     20             3.     The false declaration, certificate, verification, or statement was made
                           under penalty of perjury, and
     21
                    4.     The statement was as to a material fact.
     22
     23 2 Devitt, Blackmar &O'Malley,Federal Jury Practice and Instructions, § 24.07(4th ed. 1990); United
     24 States v. Gaudin, 515 U.S. 506, 522(1995).
     25 //
     26 //
     27 //
     28 //

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       1                  2.     False Oaths or Accounts(18 U.S.C. § 152 2))
      2           Counts 2 - 5 ofthe indictment charge Colton with making false statements under oath during his
      3 Rule 2004 examinations on January 15,2002 and August 14,2002. The elements ofthese offenses are:
      4           1.      On or about the date alleged in the indictment, the proceeding in
                          bankruptcy was in existence,
      5
                  2.     Defendant knowingly and fraudulently made, or caused to be made, a
      6                  false oral statement in that bankruptcy proceeding or in relation to that
                         bankruptcy proceeding,
      7
                  3.      The false oral statement was made under oath, and
      8
                  4.      The false statement was as to a material fact.
      9
           2 Devitt, Blackmar &O'Malley, Federal Jury Practice and Instructions, § 24.07(4"' ed. 1990); United
      10
           States v. Gaudin, 515 U.S. 506, 522(1995).
     11
                  A statement in bankruptcy is materially false if it has a natural tendency to influence or be
     12
           capable ofinfluencing the bankruptcy trustee, any creditors, or the bankruptcy court. Kungys v. United
      13
           States, 485 U.S. 759, 770(1988); Ninth Circuit Criminal Model Jury Instructions § 8.66 (2003).
      14
                          3.     Concealment of Property (18 U.S.C. § 152(1))
      15
                  Counts 6 and 7 charge Colton with concealing from the trustee real property and personal
      16
           property belonging to the estate. To prevail on these counts the government must prove:
     17
                  1.      On or about the date alleged in the indictment, the proceeding in
     18                   bankruptcy was in existence,
     19           2.      Defendant knowingly and fraudulently concealed property from a
                          custodian, trustee, marshal, creditor or United States trustee, and
     20~
                  3.      The property belonged to the estate ofthe debtor.
     21
     22 2 Devitt, Blackmar &O'Malley, Federal Jury Practice and Instructions, § 24.03 (4t'' ed. 1990).
     23           The estate ofthe debtor includes both legal and equitable interests. United States v. Weinstein,
     24 834 F.2d 1454, 1461 n.2 (9th Cir. 1987). Withholding information about an asset constitutes
     25 concealment under § 152. Id. at 1462.
     26 //
     27 //
     28 //

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      1          B.      USE OF SUMMARY EVIDENCE
      2                  1.     Summary Witness (Financial Analyst Aaron Rich)
      3          The government intends to call Federal Bureau ofInvestigation("FBI")financial analyst Aaron
      4 Rich to testify as to the preparation ofschedules and charts summarizing Colton's voluminous financial

      5 documents. Rich, who is a certified public accountant and has received training in commercial
      6 accounting and forensic accounting, will help the jury understand Colton's bank records and financial
      7 statements, and describe to the jury the flow of funds into and out of bank accounts controlled by

      8 Colton. His testimony will be predicated entirely upon documents that are admissible in evidence, and
      9 which have been made available to the defense for review and inspection.
     10          The use of summary witnesses has long been approved by the courts. See United States v.
     11   Johnson, 319 U.S. 503, 519-20 (1943) (reversing where court failed to allow summary witness
     12 testimony in a tax evasion prosecution); United States v. Baker, 10 F.3d 1374, 1411 (9th Cir. 1993)
     13 (noting "this circuit has often allowed the use ofsummary charts and summary witness testimony based
     14 on testimonial evidence(most commonly in tax cases)"), overruled on other grounds by United States
     15   v. Nordby, 225 F.3d 1053(9th Cir. 2000). As the Ninth Circuit has recognized,summary evidence "can
     16 help the jury organize and evaluate evidence which is factually complex and fragmentally revealed in

     17 ~' the testimony of the multitude of witnesses." United States v. Shipley, 884 F.2d 1130, 1133 (9th Cir.
     18   1989)(citation omitted). Because Financial Analyst Rich will not be offering "expert opinions" —but
     19 merely adding and subtracting amounts found on Colton's various financial records —his testimony does
     20 not fall within Fed. R. Evid. 702 and need not be disclosed pre-trial pursuant to Fed. R. Crim. P. 16.
     21                  2.     Surmnary Charts or Schedules of Voluminous Evidence
     22          In addition to the testimony of a summary witness, the government intends to offer through the
     23   witness several summary schedules of voluminous evidence. These summaries are admissible under
     24 Federal Rule of Evidence 1006, which provides:
     25          The contents of voluminous writings, recordings, or photographs which cannot
                 conveniently be examined in court may be presented in the form of a chart, summary,
     26          or calculation. The originals, or duplicates, shall be made available for examination or
                 copying,or both, by other parties at reasonable time and place. The court may order that
     27          they be produced in court.
     28

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       1   Fed. R. Evid. 1006. "The purpose of Rule 1006 is to allow the use of summaries when the volume of
      2 documents being summarized is so large as to make their use impractical or impossible; summaries may

       3 also prove more meaningful to the judge and jury." United States v. Johnson, 594 F.2d 1253, 1255(9th
      4 Cir. 1979) (citation omitted). The proponent of a summary under Rule 1006 must establish the
       5 admissibility of the underlying documents in order to introduce the summary. See United States v.
      6 Meyers, 847 F.2d 1408, 1411-12 (9th Cir. 1988)(allowing government to admit a summary chart of
       7 telephone calls and surveillance logs which helped clarify "confusing" events).

       8          Financial Analyst Rich's testimony will be based upon his review of several years' worth of
      9 ~ account statements from several different domestic and foreign financial accounts associated with
      10 ~ Colton. These statements were made available to Colton for his review,and are admissible as business
      11   records. Rule 1006 summaries are particularly appropriate where summaries organize information
      12 derived from a large number of documents into an understandable format. See e.g., Keith v. Volpe, 858
      13 F.2d 467,480(9th Cir. 1988)(summaries necessary to clearly present government agency files).
      14          C.     USE OF BUSINESS RECORDS
      15                 1.      Domestic Records of Re~u         v Conducted Activity
      16          The government intends to offer into evidence many documents that qualify as "business
      17 records," and thus are free from the prohibition on hearsay. See Fed. R. Evid. 803(6), 902(11). The
      18 government has notified Colton in writing of its intention to use Rule 902(11) certifications, and has
      19 ~ invited Colton to review the certifications and the underlying documents.
     20                  2.      Foreign Records of Re~arly
                                                       ul   Conducted Activity
     21           The government will also seek to admit business records from France concerning Colton's
     22 purchase ofthe Chateau, his purchase ofa Peugeot automobile, and his CaixaBank and Credit Agricole
     23 accounts —none of which he disclosed in his bankruptcy Petition. These records are admissible over
     24 any authenticity or hearsay objection because they comply with the requirements of 18 U.S.C. § 3505.
     25          "Pursuant to § 3505, `[i]n a criminal proceeding in a court ofthe United States, a foreign record
     26 of regularly conducted activity, or a copy of such record, shall not be excluded as evidence by the
     27 hearsay rule if a foreign certification attests ...' to the requirements specified in the statute." United
     28 States v. Hagage, 437 F.3d 943, 956 (9th Cir. 2006)(quoting § 3505). A foreign certification under

                                                             IS                                         06CR2252-W


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       1   § 3505 must state that "(A)such record was made, at or near the time ofthe occurrence ofthe matters
      2 set forth, by (or from information transmitted by)a person with knowledge ofthose matters;(B)such

       3 record was kept in the course of a regularly conducted business activity;(C)the business activity made
      4 such a record as a regular practice; and(D)if such record is not the original, such record is a duplicate
       5   ofthe original; unless the source ofinformation or the method or circumstances ofpreparation indicate
      6 lack of trustworthiness." 18 U.S.C. § 3505(a)(1). If a foreign certification meets these requirements,
       7 then the proponent of the evidence need not call a live witness to establish its authenticity, and the
       8 foreign record may not be excluded as hearsay. Hagege, 437 F.3d at 957. The Ninth Circuit has
      9 specifically held that foreign business records admitted pursuant to § 3505 are not subject to the
      10 Confrontation Clause requirements ofCrawfof-d v. Washington,541 U.S.36(2004),and are sufficiently
     11    reliable and part of a "firmly rooted" hearsay exception to satisfy Ohio v. Roberts,448 U.S. 56(1980).
      12 Hagege, 437 F.3d at 958.
      13          The records at issue here —records of Colton's accounts at CaixaBank and Credit Agricole, his
     14 purchase of a Peugeot, and his purchase ofthe Chateau —are each accompanied by a certification from
      15 a qualified custodian. These certifications will be offered into evidence at the time the underlying
      16 documents are moved into evidence. Colton was notified in writing in November 2007 of the

      17 government's intention to rely on § 3505 certifications to admit these records.
      18          D.      USE OF FOREIGN PUBLIC RECORDS AND ACKNOWLEDGED DOCUMENTS
     19           The government may seek to introduce records from public agencies in France concerning
     20 Colton's ownership of the Chateau, his payment of fees and taxes on the Chateau, and his ownership
     21    ofa Peugeot automobile. Such records,ifoffered, will be admissible over any authentication or hearsay
     22 objections by Colton.
     23           Foreign public documents are deemed authentic if under Fed. R. Evid. 902(3) if"executed or
     24 attested in an official capacity by a person authorized by the laws of a foreign country to make the
     25 execution or attestation, and accompanied by a final certification as to the genuineness ofthe signature 'I
     26 and official position (A) of the executing or attesting person, or (B) of any foreign official whose
     27 certificate of genuineness of signature and official position relates to the execution or attestation in a
     28 chain of certificates of genuineness of signature and official position relating to the execution or

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       1   attestation." Fed. R. Evid. 902(3). Even if a final certification is not available, a court may still treat
       2 such documents as presumptively authentic if good cause has been shown, and a "reasonable

       3 opportunity had been given to all parties to investigate the authenticity and accuracy of official
       4 documents." See United States v. Chung Kong Yin, 935 F.2d 990, 994-95 (9th Cir. 1991).
       5          Documents that are acknowledged by a notary public "or other officer authorized by law to take
      6 acknowledgments" are self-authenticating. Fed. R. Evid. 902(8); United States v. M'Biye, 655 F.2d
       7   1240, 1242 (D.C. Cir. 1981)(notarized affidavit); United States v. Estate of Oxarango, 2008 WL
       8 5411719, *4 (D. Idaho Dec. 24, 2008)(recorded mortgages and promissory notes). Many of the
       9 documents provided by French authorities are notarized or acknowledged by French judicial officers
      10 authorized by law to take such acknowledgments.
      11          Public records are not hearsay so long as they are "[r]ecords, reports, statements, or data
      12 compilations, in any form, of public offices or agencies, setting forth .. .the activities of the office or
      13 ~, agency . . . ." Fed. R. Evid. 803(8). Each of the public records to be offered into evidence contain
      14 records and data compilations concerning the activities of the appropriate public office — e.g., the
      15   Ministry ofthe Economy,Finances and Industry has provided records oftaxes owed by Colton on the
      16 Chateau, and the Office of the Mayor of Hommes has provided records demonstrating Colton's
      17 ownership of the Chateau. Therefore, each of these public records fit within an exception to the rule
      18 against hearsay.'-~
      19          E.      USE OF RESIDUAL HEARSAY EXCEPTION
     20           The previous owners of the Chateau (as listed on the sales contract with Colton) were Joseph
     21    Jacques Bouchard and his wife Marie Marcelle Carole Maranda. The couple authored a French
     22 language book about their lives at the Chateau, with photographs of many interior rooms and unique
     23 features of the castle. The government may seek to introduce this self-authenticating book and its
     24 contents under the residual hearsay exception, Fed. R. Evid. 807. The government has notified Colton
     25

     26
     27           -'~ Records from France concerning the Chateau maybe admissible under several theories. For
           example, the purchase contract signed by Colton is admissible under Fed. R. Evid. 801(d)(2) because
     28    it was signed and adopted by Colton, and under Fed. R. Evid. 803(14) because it is a record of a
           document affecting an interest in property.
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       1 ~ of this book (which it only recently acquired), and advised him in writing that it may seek to rely on
      2 Rule 807 to overcome any hearsay objection.

      3           F.     TRANSLATIONS
      4           Many of the documents relating to Cotton's French assets (including documents written and
       5 signed by Colton) are written in the French language. The government has provided Colton with
      6 certified translations of these documents. However, to date, Colton has refused to stipulate to the
       7 accuracy of these translations. Accordingly, the government may be required to call the French

      8 language specialist(Christian Degueldre) who translated the documents to establish their authenticity
      9 and accuracy for the jury. Mr. Degueldre's substantial qualifications have been provided to Colton.
      10          G.     EXPERT TESTIMONY
      11          The government may call Mary Testerman DuVoisin, a Trial Attorney with the United States
      12 Trustee's Office, as an expert witness to provide background in the area ofbankruptcy. Ms. Testerman
      13 DuVoisin's qualifications and anticipated testimony has been provided to Colton, as required by Fed.
      14 R. Crim. P. 16.
      15          Other witnesses will necessarily testify about the bankruptcy process in order to explain what
      16 they did and why they did it. For example, as counsel for Trustee Kipperman, Peter Duncan was

      17 engaged to determine if assets were available to satisfy Cotton's estate. In order to do so, Duncan had
      18 to analyze Cotton's possible equitable and marital property interests in 59 Asilomar Road,in addition
      19 to other assets. While Duncan will not offer "expert opinions" as to whether Colton in fact owned or
     20 did not own certain assets, he will be asked why he inquired into certain areas during his Rule 2004
     21    examination ofColton. This testimony will be relevant to prove the materiality ofCotton's falsehoods,
     22 and their potential impact on his bankruptcy. While the government does not believe such testimony
     23 falls under Fed. R.Evid. 702,out ofan abundance ofcaution, it has provided Colton with written notice
     24 of Duncan and Stevenson's qualifications and anticipated testimony.
     25                                                      V
     26                                                WITNESSES
     27           The government may call the following individuals as witnesses in its case-in-chief at trial, but
     28 reserves the right to call additional witnesses during its case-in-chief or in rebuttal:

                                                             18                                            06CR2252-W


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      1   1.      Paulette Ancharoff
      2 2.        Roy Carlson
      3 3.        Jessica Colton
      4 4.        Christopher Colton
      5 5.        Glen Dean
      6 6.        Christian Degueldre
      7 7.        Jacques Dessoles
      8 8.        Peter Duncan
      9 9.        Mary Testerman DuVoisin
     10 10.       Pierre Gravel
     11   11.     Teresa Hardke
     12 12.       Phillip Hatch
     13   13.     John Hause
     14 14.       Jean-Francois Lefay
     15   15.     Robert Love
     16   16.     Kathleen Love
     17   17.     David Oleksow
     18   18.     Michael Peters
     19   19.     Donald Pelgrim
     20 20.       Aaron Rich
     21   21.     Susan Stevenson
     22 22.       Armand Vallette
     23 23.       Philippe Vidoni
     24 24.       Jeannette Leon Vittorio
     25 //
     26 //
     27 //
     28 //

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       1                                                     VI
      2                                                 EXHIBITS

      3          Under separate cover, the government is providing Colton with a draft exhibit list and copies of
      4 its anticipated exhibits. On the morning oftrial, the government will provide Colton and the Court with
      5 a final exhibit list, and will provide the Court with copies of its anticipated exhibits.
      6                                                      VII
      7                                                 VOIR DIRE
      8          In addition to the Court's standard questions to the venire, the government requests that the
      9 Court consider inquiring ofthe panel in the following areas:
     10          1.      Has anyone been involved in the bankruptcy process, either as a debtor, a creditor, or in
     11                  some other capacity?
     12          2.      Has anyone had any experiences with agents from the Federal Bureau of Investigation
      13                 that would make it difficult for you to sit as an impartial juror in this case?
     14          3.      Has anyone had experiences with the United States Trustee's Office that would make it
     15                  difficult for you to sit as an impartial juror in this case?
      16         4.      Does anyone have any training or experience in the law, and particularly in the area of
     17                  bankruptcy law?
      18         5.      Some ofthe evidence you may see in this case comes from France. Does anyone speak
      19                 or read French? Would you be able to put aside what you know about the French
     20                  language, and accept what the court-certified French translator says is the English
     21                  translation of any testimony or evidence in the French language?
     22          6.      Has anyone had any particularly positive or negative experiences with the Internal
     23                  Revenue Service or the California Franchise Tax Board?
     24          7.      Does anyone have any training or experience in the area ofestate planning,such as wills
     25                  and trusts?
     26 //
     27 //
     28 //

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       1        The government respectfully requests permission from the Court to personally address the venire
      2 and ask follow-up questions.

      3         DATE: January 14, 2009                         Respectfully submitted,
      4                                                        KAREN P. HEWITT
                                                               United States Attorney
      5
                                                               /s/ Eric J. Beste
      6                                                        ERIC J. BESTE
                                                               Assistant U.S. Attorney
      7
                                                               /s/ Valerie H. Chu
      8                                                        VALERIE H. CHU
                                                               Assistant U.S. Attorney
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       1                                 UNITED STATES DISTRICT COURT

      2                                SOUTHERN DISTRICT OF CALIFORNIA

       3

      4                                                          Criminal Case No.06CR2252-W
           UNITED STATES OF AMERICA,                      )
      5
                                 Plaintiff,               )
      6                   v.                              )      CERTIFICATE OF SERVICE

      7    ROLAND C. COLTON,                              )

      8                          Defendant.               )

      9

      10
           IT IS HEREBY CERTIFIED THAT:
      11
                  I, Eric J. Beste, am a citizen of the United States and am at least eighteen years of age. My
      12   business address is 880 Front Street, Room 6293, San Diego, California 92101-8893.

      13        I am not a party to the above-entitled action. I have caused service of the
         GOVERNMENT'S TRIAL MEMORANDUM on the following parties by electronically filing the
      14 foregoing with the Clerk of the District Court using its ECF System, which electronically notifies
         them:
      15
                Roland C. Colton, rcc7@msn.com
      16
                I declare under penalty of perjury that the foregoing is true and correct.
      17
                Executed on January 14, 2009
      18                                               s/ ~~~       -
                                                       ERIC . BESTE
      19

     20

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     PUBLIC MATTER —NOT DESIGNATED FOR PUBLICATION

                                                                          Filed August 30, 2013


                                 STATE BAR COURT OF CALIFORNIA

                                        REVIEW DEPARTMENT


     In the Matter of                                  )       Case No. 06-C-15151

     ROLAND CLARK COLTON,                              )       OPINION AND ORDER

     A Member of the State Bar, No. 79896.


             Roland Clark Colton appeals from a hearing judge's recommendation that he receive a

     one-year stayed suspension and probation due to his 2011 misdemeanor conviction. He seeks a

     public reproval with conditions. We agree with Colton because the hearing judge relied on a

     factual error in his analysis.

             Colton's misconduct occurred nearly 12 years ago, in 2001, when he submitted a form

     containing an inaccurate entry to the Trustee in his own bankruptcy case. Five years later, in

     2006, federal prosecutors filed bankruptcy fraud charges against him. After the jury failed to

     reach a verdict, Colton pled guilty to misdemeanor contempt for not cooperating with

     the Trustee.

             The record in the disciplinary trial below is very limited. The Office of the Chief Trial

     Counsel(State Bar)relied entirely on a stipulation to prove its case. This stipulation provided

     that the facts and circumstances surrounding Colton's conviction did not constitute moral

     turpitude, but did involve other misconduct warranting discipline. It also offered the only

     evidence of the facts and circumstances of Colton's conviction —that he incorrectly marked the

     bankruptcy form and then failed to ensure that it was accurate in all material respects before it

     was submitted to the Trustee. Colton testified briefly on his own behalf.


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            Colton has one prior record of discipline since he was admitted to the Bar in 1978. He

     was disciplined in 1985 due to his 1983 federal conviction for aiding and abetting the preparation

     oftwo false income tax returns for clients. His misconduct occurred in 1981. Due to strong

     mitigation, he received only a public reproval with conditions. In the present conviction case,

     the hearing judge imposed a stayed suspension as progressive discipline under Rules of

     Procedure of the State Bar, title N,Standards for Attorney Sanctions for Professional

     Misconduct, standard 1.7(a).i

            On review, Colton seeks a public reproval with conditions, asserting that progressive
                                                                                                   ct
     discipline is not warranted because his prior case is remote in time and his present miscondu

     was minimal. He argues that the hearing judge gave too much weight to his 1985 discipline
                                                                                                        ct
     based on an incorrect finding that it occurred only six years before his present(2001) miscondu

     when, in fact, 16 years had passed. The State Bar asks that we affirm the hearing judge's
                                                                                                the
     recommendation despite this error. The main issues on appeal are:(1) what weight to assign

      1985 discipline case; and (2) whether to apply progressive discipline (stayed suspension)instead

     of a public reproval.

             After independently reviewing the record (Cal. Rules of Court, rule 9.12), we find that

      progressive discipline is not warranted. We give less weight to Colton's prior discipline case

      than the hearing judge did because it is remote in time and the misconduct was extensively
                                                                                                years
      mitigated. In addition, Colton's present misconduct was minimal and it occurred almost 12

      ago. Since that time, he has practiced law without further ethical violations. Overall, Colton's

      mitigation far outweighs the aggravation of his 1985 discipline. We conclude that a public


               All further references to standards are to this source. Standard 1.7(a) directs that the
      degree of discipline imposed on an attorney with a prior record of discipline "shall be greater
                                                                                                      in
      than that imposed in the prior proceeding unless the prior discipline imposed was so remote
      time to the current proceeding and the offense for which it was imposed was so minimal in
      severity that imposing greater discipline in the current proceeding would be manifestly unjust."

                                                      -2                                           0051
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                                                                        courts, and the legal profession
     reproval with conditions will adequately protect the public, the

     without imposing punishment on Colton.
                                                                               ON'S CONVICTIONZ
        I. FACTS AND CIRCUMSTANCES SURROUNDING COLT
                                                                                 his guilt of all requisite
            For purposes of attorney discipline, Colton's conviction proves

                                                                         After the State Bar transmitted
     elements of his crime. (Bus. &Prof. Code, § 6101, subd.(a).)3
                                                                         g department to determine
     the conviction records to us, we referred the matter to the hearin
                                                                          turpitude or other misconduct
     whether the facts and circumstances of the crime involved moral
                                                                            6102, subd.(e); In re Kelley
     warranting discipline and, if so, the proper level of discipline. (§
                                                                       facts and circumstances of       the
     (1990) 52 Ca1.3d 487, 494.) Since the parties stipulated that the
                                                                             "look to the whole course of
     conviction constituted other misconduct warranting discipline, we
                                                                        law," not merely the elements of
     [Colton's ]conduct which reflects upon his fitness to practice
                                                                         ) 17 Cal.3d 562, 567.)
      the crime, to determine the proper discipline. (In re Hurwitz(1976

      A.     Colton Filed Bankruptcy in 2001
                                                                         practiced law primarily as a
             Colton was admitted to the Bar 34 years ago in 1978. He has

                                                                        he began experiencing financial
      solo practitioner doing general litigation and tax work. In 1999,
                                                                       to discha    rge his personal debts.
      difficulties. By 2001, he decided to file a Chapter 7 bankruptcy
                                                                             in this area of law. He
      Colton hired a bankruptcy attorney because he lacked experience
                                                                        ed the bankruptcy forms. Once the
      provided his financial information to the attorney, who prepar
                                                                      ted a Trustee and entered an
      bankruptcy petition was filed in October 2001, the court appoin
                                                                         Trustee in administering the estate.
      Order of Relief, which obligated Colton to cooperate with the




                                                                                  Conclusion of Law, and
              2 Our findings are based on the parties' Stipulation as to Facts,
                                                                      g judge's findings. (Rules Proc. of
       Admission of Documents,the trial evidence, and the hearin
                                                                           d to great weight on review].)
       State Bar, rule 5.155(A)[hearing judge's factual findings entitle
                                                                                      sions Code.
               3 All further references to sections refer to the Business and Profes

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     B.     Colton Submitted an Inaccurate Bankruptcy Document

            On November 16, 2001, Colton appeared before the Trustee for a meeting of creditors.

     He was required to submit a form entitled "341(a) Meeting of Creditors, Questionnaire"

    (Questionnaire) to the Trustee before the meeting. Colton's attorney arrived late and had not yet

     completed the Questionnaire. His attorney hastily prepared the document, which he gave to

     Colton to sign, indicating that it contained the financial information they had discussed.

     Contrary to his usual practice, Colton did not read the Questionnaire before he signed and

     submitted it to the Trustee.4

            The Questionnaire included a series of"check-off' boxes, including one that asked if

     Colton was a beneficiary or trustee of any trusts. Colton's attorney had marked "no" in response.

     This was incorrect since Colton was a trustee of his irrevocable family trust. Colton testified that

     his attorney believed this trust was not subject to the bankruptcy. Ultimately, Colton dismissed

     the bankruptcy case without discharging any debt, and the Questionnaire never became part of

     the bankruptcy file.

     C.      Criminal Charges Were Filed Against Colton Five Years After Misconduct

             Colton's error on the Questionnaire ultimately led to criminal charges being filed against

     him. In 2006, he was charged with seven counts of criminal misconduct related to bankruptcy

     fraud in the U.S. District Court for the Southern District of California, Case No. 3:06-cr-02252,

     United States v. Colton. In 2009, the case proceeded to trial but ended in a hung jury. The

     prosecutor called Colton two and one-half years later in December 2011, and suggested a plea

     agreement to a lesser charge. Colton consented because he wanted to finalize the matter without

     putting his family through another trial.



            "At the time, Colton was suffering significant personal stress. His wife developed health
     issues and almost died, which left her with frequent bouts of anxiety. Although he testified his
     problems did not impact his ability to practice law, they caused him great concern.

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     D.     Colton Pled Guilty to One Count of Criminal Contempt

            On December 19, 2011, Colton pled guilty to violating 18 U.S.C. § 401(3)(Criminal

     Contempt —Misdemeanor). The written plea agreement recited the factual basis for the crime as

     follows:"By submitting this form [the Questionnaire] to the Trustee, and failing to ensure that it

     was accurate in all material respects,[Colton] willfully resisted the lawful Order of Relief...

     which required [Colton] to cooperate with the Trustee." He was sentenced to two years'

     supervised probation and ordered to pay a $25.00 assessment.5 Colton agreed, as an additional

     term of probation, to pay restitution of $405,811, plus penalties and interest, to the California

     Franchise Tax Board(FTB)for taxes owed from 1992 to 1998.

     E.     The Discipline Trial

            The State Bar presented the stipulation to prove the facts and circumstances surrounding

     the conviction. It stated, in relevant part, that Colton:(1) attended the creditors' meeting,(2)

     failed to correctly mark the "check-off' box indicating he was a trustee of any trust; and (3)

     failed to "ensure that [the Questionnaire] was accurate in all material respects" before submitting

     it to the Trustee. While certain facts in the record raise concerns about Colton's misconduct —

     such as initial bankruptcy fraud charges and the large amount of restitution paid to the FTB —the

     State Bar failed to present evidence from which we might conclude that Colton's misconduct

     was more serious than the stipulation recited.

             Colton testified at his discipline trial about his professional background, other facts and

     circumstances surrounding his conviction, and his pro Bono and community service. He

     repeatedly acknowledged his wrongdoing, admitting that he erred by not reading the

     Questionnaire before signing it: "I'm meticulous in my own practice and advising clients to read

     documents so it's not [an] excuse. I don't offer it as an excuse. I accept full responsibility for

           5 The maximum penalty for this crime included six months in prison, a $5,000 fine, a
     mandatory special assessment of $25, and a term of supervised release of not more than one year.

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     my failure." He testified that he is complying with the terms of his criminal probation, including

     making monthly restitution payments of $2,500 to the FTB.

                               II. MITIGATION AND AGGRAVATION

            The offering party bears the burden of proof for aggravation and mitigation. The State

     Bar must establish aggravating circumstances by clear and convincing evidence.6 (Std. 1.2(b).)

     Colton has the same burden to prove mitigating circumstances. (Std. 1.2(e).)

     A.     Four Mitigating Factors

            The hearing judge found two factors in mitigation —cooperation and community

     service/pro Bono work. Colton requests that we assign credit for several additional factors. We

     find that he proved a total offour mitigating factors.

            1. Cooperation (Std. 1.2(e)(v))

            Colton entered into a stipulation with the State Bar, and conceded that his misconduct

     warranted discipline. As a result, the State Bar did not call witnesses to testify at trial. Colton's

     cooperation greatly facilitated the trial and is entitled to significant mitigation. (In the Matter of

     Johnson (Review Dept. 2000)4 Cal. State Bar Ct. Rptr. 179, 190 [extensive weight in mitigation

     given to those who admit culpability and facts].)

            2. Community Service/Pro Bono Work

            Pro Bono work and community service are mitigating factors. (Calvert v. State Bar

    (1991)54 Ca1.3d 765, 785.) Colton testified that he has provided these services throughout his

     career, but expanded them to fi11200 hours per year during the past five to 10 years. He


          6 Clear and convincing evidence leaves no substantial doubt and is sufficiently strong to
     command the unhesitating assent of every reasonable mind. (Conservatorship of Wendland
    (2001)26 Ca1.4th 519, 552.)
             ~ Colton also claimed mitigation credit for: good faith; a lenient sentence in the criminal
     matter; family and financial difficulties at the time of his misconduct; lack of harm; and the
     negative impact of a stayed suspension on his law practice. We find that he failed to prove these
     factors by clear and convincing evidence.

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     performed pro bono legal work and participated in church activities, such as teaching Sunday

     school and playing the piano and organ. While this commendable community service merits

     mitigation credit, we diminish the weight because Colton offered only his own testimony. (In

     the Matter ofShalant(Review Dept. 2005)4 Cal. State Bar Ct. Rptr. 829, 840 [limited

     mitigation weight for community service established solely by attorney's testimony].)

            3. Recognition of and Remorse for Misconduct(Std. 1.2(e)(vii))

            Although the hearing judge did not find this factor in mitigation, we assign modest

     weight to Colton's recognition of and remorse for his misconduct. In the criminal matter, he

     entered into a plea agreement and is complying with his probation terms. At his discipline trial,

     he admitted he carelessly failed to read the Questionnaire before he signed it. And in his brief on

     review, he acknowledged that "his conduct did not comport with the high duty required of

     attorneys in dealing with judicial matters."

            4. Passage of Time Since Misconduct(Std. 1.2(e)(viii))

            Standard 12(e)(viii) provides mitigation for the "passage of considerable time since the

     acts of professional misconduct occurred followed by convincing proof of subsequent

     rehabilitation." The hearing judge assigned no mitigating credit for the passage of over 10 years

     from 2001 (present misconduct)to 2011 (discipline trial), noting that Colton "has been the object

     of ongoing criminal prosecution during the majority of that time."

            We assign some mitigation credit for the passage of time without misconduct. Colton

     practiced law without ethical problems for five years following his 2001 misconduct before the

     2006 criminal charges were filed. He continued to practice law discipline-free for five more

     years through his 2011 discipline trial. Given his cumulative 34 years in practice, we do not

     believe Colton acted ethically during these 10 years simply because a criminal prosecution was

     pending for part of that time. (Amante v. State Bar(1990)50 Ca1.3d 247, 256 [three years of



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     untarnished post-misconduct practice given limited mitigation credit]; Rodgers v. State Baf-

     (1989)48 Cal.3d 300, 305, 308, 316-317 [five years of unblemished post-misconduct practice

     demonstrated attorney's ability to adhere to standards of professional behavior and considered

     mitigating].)

     B.     One Aggravating Factor

            The hearing judge properly found that Colton's 1985 record of discipline (In the Matter

     ofColton (June 14, 1985) Cal. State Bar Ct. No. 84-C-00074)is an aggravating factor.

    (Std. 1.2(b)(1).) We agree, but diminish its weight because the misconduct was strongly

     mitigated and is remote in time. Even the State Bar prosec~ater conceded at trial that Colton's

     prior discipline is "remote in time" and that"some level of mitigation will likely be given for his

     discipline free record since the [1985] prior." A 1985 stipulation between the State Bar and

     Colton sets out the particulars of that case, as detailed below.

            In 1979, the year after Colton was admitted to the Bar, several church members hired him

     to represent Major Dynamics. This company offered solar energy tax shelters to investors.

     Before long, the principals began defrauding the investors by misusing the investment monies.

     Colton did not initially suspect the fraud nor did he know that the investment tax deductions and

     credits were improper. By 1980, he knew that people managing Major Dynamics were back-

     dating contracts. And by 1981, he was on notice "as to the need to inquire further regarding

     serious irregularities in the operation of Major Dynamics." Yet, in 1981, he prepared tax returns

     for an investor and the investor's wife claiming invalid deductions and credits for the solar

     panels. His willful failure to inquire about the company's irregularities before preparing those

     returns constituted "a reckless indifference for the truth."

            Federal prosecutors charged Colton with violating 26 U.S.C. § 7206(2)(aiding and

     abetting the preparation and filing of false income tax returns). In 1983, he pled guilty and was



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  sentenced to a suspended two-year prison term, subject to a five-year probation period, and 60

  days in a jail-type institution.$

          In 1985, Colton was disciplined for his conviction that involved moral turpitude, in

  violation of section 6101. No aggravating circumstances existed and there were 11 factors in

  mitigation.9 Colton received a public reproval with conditions.

          In assigning full aggravating weight to Colton's prior discipline, the hearing judge

  miscalculated the time period as only six years between that case (1985) and the present

  misconduct(2001). Correcting the time span to 16 years, and considering the minimal discipline

  imposed, we properly afford only limited aggravating weight to Colton's 1985 discipline case.

 (See In the Matter ofHanson (Review Dept. 1994)2 Cal. State Bar Ct. Rptr. 703, 713 [no

  significant aggravation for prior discipline where misconduct occurred 17 years earlier, resulted

  in private reproval, and involved acts unrelated to present misconduct]; In the Matter ofShinn

 (Review Dept. 1992)2 Cal. State Bar Ct. Rptr. 96 [no significant aggravation for prior discipline

  where misconduct occurred 20 years earlier, resulted in public reproval, and involved acts

  unrelated to present misconduct].)

                                      III. LEVEL OF DISCIPLINE

          This proceeding is not intended to punish Colton for his wrongdoing; the criminal court

  has handled that. Instead, the purpose of attorney discipline is to protect the public, the courts


         g The record does not establish whether Colton's 1985 conviction was a felony or
  misdemeanor. At oral argument, the State Bar represented that all parties understood it was
  a misdemeanor.
           9 Those stipulated pre-standard mitigating factors were that Colton:(1) had no
  disciplinary record;(2) was young and inexperienced;(3)trusted the principals;(4) provided a
  valid legal tax opinion when first hired;(5)believed the investment would be successful;(6)
  never actually knew the investor funds were being misused;(7) had himself been an investor
  victim;(8) believed the tax deductions and credits were proper when he prepared the investor's
  return;(9) visited the company's office only twice and had no access to its files;(10)voluntarily
  paid the investors $130,000 as returned commissions; and (11)produced character and support
  letters from investors who had lost money.

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  and the legal profession, to preserve public confidence in the profession, and to maintain high

  professional standards for attorneys. (Std. 1.3.) Ultimately, we balance all relevant factors,

  including mitigating and aggravating circumstances, on a case-by-case basis to ensure that the

  discipline imposed is consistent with its purpose. (In re Young(1989)49 Cal.3d 257, 266.) Our

  analysis begins with the standards, which are guidelines we follow whenever possible to promote

  uniformity of discipline. (In re Silverton (2005)36 Ca1.4th 81, 91-92.)

  A.      No Progressive Discipline Under Standard 1.7(A)

          On review, Colton requests the same discipline he received in his 1985 case — a public

  reproval with conditions. Standard 1.7(a) provides for progressive discipline unless the prior

  record was(1)so remote, and (2)the misconduct was so minimal that it would be manifestly

  unjust to impose a greater discipline. Colton argues that since he meets this two-prong

  exception, progressive discipline is not warranted. We agree.

          As to the first prong, Colton's 1985 prior discipline is remote in time, as the State Bar

  conceded at trial. He assisted his clients in filing false tax returns in 1981, was convicted of the

  criminal offense in 1983, and was publicly reproved in 1985. Then in 2001, he committed his

  present misconduct, 20 years after his past wrongdoing, and 16 years after he was publicly

  reproved for it. In total, it has been 32 years to date since Colton committed the misconduct in

  his prior discipline case (1981 to 2013).

          As to the second prong, Colton's past misconduct involving moral turpitude was

  significantly mitigated. He received only a public reproval, a lenient discipline reflecting that the

  misconduct was minor. (See In the Matter ofHanson, supra, 2 Cal. State Bar Ct. Rptr. at p. 713

  [private reproval in previous discipline case indicated "misconduct itself was minimal in

  nature"].)




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         Colton's discipline matters are not similar enough to suggest that he needs progressive

  discipline as a recidivist offender who did not learn from his prior case. His present misconduct

  occurred during his own bankruptcy proceeding where he was represented by counsel. In

  contrast, the misconduct in his prior case occurred during the practice of law. Nor is this a case

  where Colton committed increasingly serious misconduct —failing to ensure the bankruptcy

  Questionnaire's accuracy is less concerning misconduct than recklessly aiding clients to file false

  tax returns. Thus, imposing progressive discipline would not serve the goals of attorney

  discipline and would be manifestly unjust to Colton. (See In the Matter ofDowney(Review

  Dept. 2009)5 Cal. State Bar Ct. Rptr. 151, 157 [progressive discipline warranted where

  misconduct aggravated by serious discipline record and dishonesty].)

  B.     Public Reproval with Conditions Is Appropriate Discipline

         Standard 3.4 provides that discipline for a criminal conviction involving "other

  misconduct warranting discipline" should appropriately reflect the nature and extent of the

  misconduct. As noted, Colton's misconduct involves his careless failure to review the

  bankruptcy Questionnaire. Such negligence reflects poorly on his judgment and the legal

  profession in general.

          The parties disagree on which standard applies. The State Bar asserts that Colton's

  criminal conviction for contempt is akin to a violation of section 6103 (willful violation of court

  order) and therefore standard 2.6 applies, calling for disbarment or suspension. Colton argues

  that his misconduct —submitting an inaccurate Questionnaire to the Trustee — is comparable to

  failing to act competently, in violation of rule 3-110(A) of the Rules ofProfessional Conduct,io

  Colton is correct because we examine the facts and circumstances surrounding the crime, not the

  conviction itself. (See In re Gross(1983) 33 Ca1.3d 561, 568 [misconduct, not conviction,


          10 All further references to rules are to this source, unless otherwise noted.

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   warrants discipline]; In the Matter ofRespondent O(Review Dept. 1993)2 Cal. State Bar Ct.

  Rptr. 581, 589, fn. 6 [whether acts underlying conviction amount to professional misconduct "is

   a conclusion that can only be reached by an examination of the facts and circumstances

  surrounding the conviction"].)

          Violations of rule 3-110(A)fall within standard 2.4(b). (In the Matter ofBroderick

  (Review Dept. 1994)3 Cal. State Bar Ct. Rptr. 138, 157.) This standard calls for a reproval or

  suspension depending on the gravity of the offense or harm, if any, to the victim. The State Bar

   conceded at trial that although Colton's present misconduct was not minimal,"it was not of the

   most severe nature." We agree because it involved negligence, not dishonesty. The State Bar

   did not argue or prove harm and presented little, if any, evidence other than the conviction itself.

   Colton, on the other hand, established mitigation that outweighs the limited aggravating weight

   of his remote 1985 prior discipline matter. Perhaps most significantly, Colton has not committed

  further ethical violations in nearly 12 years since his 2001 misconduct, while increasing his

  service to the community.

          In light of Colton's 34 years of practicing law, his minimal misconduct, and his strong

   mitigating evidence, we conclude that a public reproval with conditions will adequately protect

   the public, the courts, and the legal profession. Comparable case law fully supports this

   discipline. (See In the Matter ofFonte (Review Dept. 1994)2 Cal. State Bar Ct. Rptr. 752, 757

  [no culpability for rule 3-110 violation for failure to file answers to interrogatories after fourth

  time extension where simple calendar error due to recent computer change]; In the Matter of

  Respondent G(Review Dept. 1992)2 Cal. State Bar Ct. Rptr. 175 [private reproval with

  conditions for repeatedly failing to perform legal services by neglecting clients needs in probate

  case]; In the Matter ofHanson,supra, 2 Cal. State Bar Ct. Rptr. 703 [public reproval with




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  conditions for failing to promptly return unearned fee with 17-year-old prior discipline; no

  culpability for isolated rule 3-110 violation for filing late response to motion to dismiss].)

                                             IV. ORDER

         Roland Clark Colton is ordered publicly reproved, to be effective 15 days after service of

  this opinion and order. (Rules Proc. of State Bar, rule 5.127(A).)

         Further, Roland Clark Colton must comply with specified conditions set forth in this

  order. (Cal. Rules of Court, rule 9.19; Rules Proc. of State Bar, rule 5.128.) Failure to comply

  with any condition may constitute cause for a separate proceeding for willful breach

  of rule 1-110.

         Roland Clark Colton is ordered to comply with the following conditions for a period of

  one year following the effective date of this order:

      1. He must comply with the provisions of the State Bar Act and the Rules of Professional
         Conduct.

     2. Within 10 days of any change in the information required to be maintained on the
        membership records ofthe State Bar pursuant to Business and Professions Code
        section 6002.1, subdivision (a), including his current office address and telephone
        number, or if no office is maintained, the address to be used for State Bar purposes, he
        must report such change in writing to the Membership Records Office and the State Bar
        Office ofProbation.

     3. Within one year of the effective date of this public reproval, he must submit to the Office
        of Probation satisfactory evidence of completion of the State Bar's Ethics School and
        passage of the test given at the end of that session. This requirement is separate from any
        Minimum Continuing Legal Education(MOLE)requirement, and he shall not receive
        MOLE credit for attending Ethics School.

     4. He must take and pass the Multistate Professional Responsibility Examination
        administered by the National Conference of Bar Examiners within one year of the
        effective date of this public reproval and provide satisfactory proof of such passage to the
        Office of Probation within the same period.

     5. Subject to the assertion of applicable privileges, he must answer fully, promptly, and
        truthfully, any inquiries ofthe Office of Probation that are directed to him personally or
        in writing, relating to whether he is complying or has complied with the conditions
        contained herein.


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                                            V. COSTS

         We further recommend that costs be awarded to the State Bar in accordance with

  Business and Professions Code section 6086.10, such costs being enforceable both as provided in

  section 6140.7 and as a money judgment.

                                                      PURCELL,J.

  WE CONCUR:

  REMKE,P. J.

  EPSTEIN,J.




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                                      INTERNATIONAL LTD.
                                      JANICE LYNN COLTON
                                      J.K.M. FAMILY TRUST
                                      DATED JULY 28, 1981

             Case Type                A60507 FRAUD




             Case Name                STRAHLE VS
                                      POLLOCK AND
                                      COLTON
             State                    CA

             Plaintiff                FREDERIC STRAHLE
                                      EUNICE STRAHLE
                                      TRUSTEES OF THE
                                      STRAHLE TRUST OF
                                      1 986

             Defendant                POLLOCK AND COLTON
                                      ROLAND C. COLTON
                                      JAMES POLLOCK
                                      RICHARD SACKS &
                                      I NVESTORS RECOVERY
                                      SERVICE
                                      JAMES J. SULLIVAN

             Case Type                A60510 MALPRACTICE




                                                              065
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                                                           Colton"




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         Case Name                                                           COLTON VS WEISFELD

         State                                                               CA

         Plaintiff                                                           ROLAND C COLTON

         Defendant                                                           GARY B WEISFELD

         Case Type                                                           A60304 BREACH OF CONTRACT




         Case Name                                                           CARR VS COLTON

         State                                                               CA

         Plaintiff                                                           RONALD P CARR

         Defendant                                                           ROLAND C COLTON

         Case Type                                                           A11201 SMALL CLAIMS




         Case Name                                                           MICHEL NAPOLITANO REALTY INC VS COLTON

         State                                                               CA

         Plaintiff                                                           MICHEL NAPOLITANO REALTY INC
                                                                             NAPOLITANO REALTY BETTER HOMES AND GARDENS

         Defendant                                                           ROLAND C COLTON

         Case Type                                                           A60614 OTHER CIVIL COMPLAINT




         Case Name                                                           BANK OF AMERICA NATIONAL TRUST AND SAVINGS
                                                                             ASSOCIATION VS COLTON

         State                                                               CA

         Plaintiff                                                           BANK OF AMERICA NATIONAL TRUST AND SAVINGS ASSOCIATION

         Defendant                                                           ROLAND C. COLTON
                                                                                                                             0066     1/5
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        Case Type                                         A60609 MONEY DEMAND




        Case Name                                         AYLWARD BINGMAN VS COLTON

        State                                             CA

        Plaintiff                                         LYNN M AYLWARD BINGMAN

        Defendant                                         ROLAND C COLTON

        Case Type                                         A60507 FRAUD




        Case Name                                         ANTINONE VS COLTON

        State                                             CA

        Plaintiff                                         LAWRENCE ANTINONE
                                                          CHERYL ANTINONE

         Defendant                                        ROLAND C COLTON

         Case Type                                        A60308 PROMISSORY NOTE




         Case Name                                        COLUMBIA SQUARE ASSOCIATES VS COLTON

         State                                            CA

         Plaintiff                                        COLUMBIA SQUARE ASSOCIATES

         Defendant                                        ROLAND C. COLTON

         Case Type                                        A60410 UNLAWFUL DETAINER




         Case Name                                        ATENCIO VS COLTON

         State                                            CA

         Plaintiff                                        JOE A ATENCIO

         Defendant                                        ROLAND C COLTON

         Case Type                                        A60507 FRAUD




         Case Name                                        MONTEE VS COLTON

         State                                            ~A

         Plaintiff                                        TRACY G MONTEE
                                                          LINDA C MONTEE

         Defendant                                        ROLAND C COLTON

         Case Type                                        A60507 FRAUD




         Case Name                                        OLIVER VS COLTON

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        State                                             CA

        Plaintiff                                         STEPHEN M OLIVER

         Defendant                                        ROLAND C COLTON

         Case Type                                        A60507 FRAUD




         Case Name                                        SCHNEIDER VS COLTON

        State                                             CA

        Plaintiff                                         OTTO SCHNEIDER

         Defendant                                        ROLAND C COLTON

         Case Type                                        A60507 FRAUD




         Case Name                                        WHEAT VS COLTON

        State                                             CA

         Plaintiff                                        WILLIAM WHEAT

         Defendant                                        ROLAND C COLTON

         Case Type                                        A60308 PROMISSORY NOTE




         Case Name                                        SAN DIEGO TRUST &SAVINGS BANK VS COLTON

         State                                            CA

         Plaintiff                                        SAN DIEGO TRUST &SAVINGS BANK
                                                          BANKCARD SERVICES

         Defendant                                        ROLAND C COLTON
                                                          JANICE L COLTON

         Case Type                                        A60307 GUARANTY




         Case Name                                        CORN VS COLTON

         State                                            ~A

         Plaintiff                                        CURTIS J CORN

         Defendant                                        ROLAND C COLTON
                                                          JANICE L COLTON

         Case Type                                        A60308 PROMISSORY NOTE




         Case Name                                        COLTON VS SCHREIBER

         State                                            CA

         Plaintiff                                        ROLAND C. COLTON
                                                          JANICE L. COLTON
                                                         ).K.M. FAMILY TRUST



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        Defendant                                                          ALEXANDER,JR.SCHREIBER
                                                                           ASPAS DEVELOPERS, INC.
                                                                           RICHARD D. BOKAL
                                                                           BOKAL KELLEY-MARKHAM
                                                                           BOKAL KELLEY-MARKHAM ARCHITECTS
                                                                           CARMEL BUILDING PRODUCTS
                                                                           D & R ROOFING
                                                                           DODDS, INC.
                                                                           DON CLARK ROOFING
                                                                           GORDON SKYLIGHTS ODL, INC.
                                                                           KURT D.MYERS LANDSCAPE CONSTRUCTION
                                                                           DOUG LEHNER
                                                                           KURT D. MYERS
                                                                           NORTH COUNTY GUNITE
                                                                           ODL, INC.
                                                                           SOUTHERN CALIFORNIA SOIL &TESTING, INC.
                                                                           STERLING PACIFIC BUILDING MATERIALS
                                                                           WESTERN PACIFIC SOLAR

        Case Type                                                          A60304 BREACH OF CONTRACT




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                                                v. Colton, Case Number: O6CR2252-W ~ CaseV


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                                                                    United States
                                                                         v.
                                                                       Colton
                               U NITED STATES DISTRICT COURT SOUTHERN DISTRICT OF CALIFORNIA                     Dec 21, 2011   Full title


                                                        Case Number: 06CR2252-W (S.D. Cal. Dec. 21, 2011)    Copy Citation




                          THOMAS J. WHELAN

                          JUDGMENT IN A CRIMINAL CASE
                        (For Offenses Committed On or After November i, i98~)
                          Roland C Colton


                          Defendant's Attorney


                          REGISTRATION NO,6644098

                          ~~

                          THE DEFENDANT:

                        [x] Pleaded guilty to counts superseding information

                        ]was found guilty on counts)
                        [                                                              after a plea of not guilty.

                          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following
                          offense(s):

                         +----------------------------------------------------+ ; ', ;Count ; ;Title &Section ;Nature of
                          Offense I I I I INumber(s) ; +-----------------+----------------------+-----------; ;i8 use 4oi(3)
                          ;contempt (misdemeanor);i ; +---             ----------------------------------------+

                          The defendant is sentenced as provided in pages a through 3 of this judgment. The
                          sentence is imposed pursuant to the Sentencing Reform Act of 1984•

                        []The defendant has been found not guilty on counts)


                                                                                                                                                0071
https://casetezLcom/caselunited-stales-v-coRon-5                                                                                                               ~~4
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                        [x] Fine waived[]Forfeiture pursuant to order filed             ,included herein.

                                                                                                    attorney for this district
     Q     Find in document             ~ oio „ ,, defendant shall notify the United States
                         ...~,,...,., ~~~., .,. ~..y .......ige of name,residence, or mailing address until all fines,
                         restitution, costs, and special assessments imposed by this judgment are fully paid. If
                         ordered to pay restitution, the defendant shall notify the court and United States Attorney
                          of any material change in the defendant's economic circumstances.

                          DECEMBER i9, 2oii


                          Date of Imposition of Sentence




                          HON.THOMAS J. WHELAN


                          UNITED STATES DISTRICT JUDGE



                          PROBATION
                          The defendant is hereby sentenced to probation for a term of: TWO (a) YEARS

                          The defendant shall not commit another federal, state, or local crime.

                          Fo~~ offenses conirtiitted on or czfder September i3, 1994

                          The defendant shall not illegally possess a controlled substance. The defendant shall
                          refrain from any unlawful use of a controlled substance. The defendant shall submit to one
                          drug test within i5 days of placement on probation and at least two periodic drug tests
                          thereafter as determined by the court Testing requirements will not exceed submission of
                           more than 8 drug tests per month during the term of supervision, unless otherwise ordered
                           by court.

                         []The above drug testing condition is suspended, based on the court's determination that
                          the defendant poses a low risk offuture substance abuse.(Check, if applicable.)

                         [x] The defendant shall not possess a firearm, ammunition, destructive device, or any other
                           dangerous weapon.

                         [x] The defendant shall cooperate in the collection of a DNA sample from the defendant,
                         pursuant to section 3 of the DNA Analysis Backlog Elimination Act of a000, pursuant to i8
                           USC sections 3563(a)(~) and 3583(4)•

                         []The defendant shall comply with the requirements of the Sex Offender Registration and
                         Notification Act (4a U.S.C. § i6goi, et seq.) as directed by the probation officer, the Bureau
                         of Prisons, or any state sex offender registration agency in which he or she resides, works,
                           is a student, or was convicted of a qualifying offense.(Check if applicable.)

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                          Payments sheet of this judgment.
      CZ Find in document                 oio ~ ~ ly with the standard conditions that have been adopted by this
                                              x
                          court (set forth below). The defendant shall also comply with the special conditions
                          imposed.

                          STANDARD CONDITIONS OF SUPERVISION
                          i) the defendant shall not leave the judicial district without the permission of the court or
                          probation officer;

                          z) the defendant shall report to the probation officer in a manner and frequency directed
                          by the court or probation officer;

                          3) the defendant shall answer truthfully all inquiries by the probation officer and follow the
                          instructions of the probation officer;

                          4) the defendant shall support his or her dependents and meet other family
                          responsibilities;

                          5) the defendant shall work regularly at a lawful occupation, unless excused by the
                          probation officer for schooling, training, or other acceptable reasons;

                          6) the defendant shall notify the probation officer at least ten days prior to any change in
                          residence or employment;

                          ~) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
                          use, distribute, or administer any controlled substance or any paraphernalia related to any
                          controlled substances, except as prescribed by a physician;

                          8) the defendant shall not frequent places where controlled substances are illegally sold,
                          used, distributed, or administered;

                          g) the defendant shall not associate with any persons engaged in criminal activity and shall
                          not associate with any person convicted of a felony, unless granted permission to do so by
                          the probation officer;

                         io) the defendant shall permit a probation officer to visit him or her at any time at home or
                         elsewhere and shall permit confiscation of any contraband observed in plain view of the
                         probation officer;

                          ii) the defendant shall notify the probation officer within seventy-two hours of being
                          arrested or questioned by a law enforcement officer;

                         ia) the defendant shall not enter into any agreement to act as an informer or a special
                         agent of a law enforcement agency without the permission of the court; and

                         i3) as directed by the probation officer, the defendant shall notify third parties of risks that
                         maybe occasioned by the defendant's criminal record or personal history or characteristics
                          and shall permit the probation officer to make such notifications and to confirm the
                          defendant's compliance with such notification requirement.

                          *3 RESTITUTION
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                                                                                                                                       0073             3/4
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                           * as follows:

      q F~~a ~~ do~~me~c          ;~ oio ~           ndant pay restitution in the amount of $4o5,8ii.00 through the
                  . ,....._, .,.~. ~.~.....~ ~.,.,. ~. No restitution payments will be required for the first six months
                           after entry of Defendant guilty plea, so long as Defendant undertakes best efforts to
                           negotiate a payment plan with the Franchise T~ Board ("FTB") to resolve this debt. If
                           Defendant and the FTB reach agreement as to a payment schedule, that same schedule will
                           be the restitution payment schedule. If no payment plan is reached between Defendant and
                           the FTS within six months, Defendant shall be required to pay restitution of $a,5oo per
                           month, beginning ~/ao/ia.

                           Restitution is to be paid to the following victim, and directed to the following address:

                           +-------------------------------------+ ,Name ,Amount , +-----------------------------+---------,
                           'California Franchise Tax Board• '' ' ' 'Attn:Nancy Parker' ' ' '$405 gii.00' 'P.O Sox i~ao
                           MS A-z6o ; ; ; ; ; .Rancho Cordova,Ca,65741 ; ; +---------------------------------------+

                           Until restitution has been paid, the defendant shall notify the Clerk of the Court and the
                           United States Attorney's Office of any change in the defendant's mailing or residence
                           address, no later than thirty (30) days after the change occurs

                           The Court has determined that the defendant does have the ability to pay interest. It is
                           ordered that:

                                           The interest requirement is waived.

                                           The interest is modified as follows:




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